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12                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
13
     AMY JINE and ANA BIOCINI, on              Case No.
14   behalf of themselves and all others
     similarly situated,                       CLASS ACTION COMPLAINT FOR:
15
                   Plaintiffs,                 1. FRAUD,
16         v.
                                               2. INTENTIONAL
17   OTA FRANCHISE                                MISRPRESENTATION,
     CORPORATION, a Nevada
18   Corporation,                              3. CONCEALMENT,
19   NEWPORT EXCHANGE                          4. BREACH OF EXPRESS
     HOLDINGS, INC., a California                 WARRANTY,
20   corporation,
                                               5. UNJUST ENRICHMENT,
21   NEH SERVICES, INC., a California
     corporation,                              6. VIOLATIONS OF THE
22                                                CONSUMER LEGAL REMEDIES
     EYAL SHAHAR, individually and as             ACT, CAL. CIV. CODE §§ 1750,
23   an officer of OTA Franchise                  ET SEQ.,
     Corporation, Newport Exchange
24   Holdings, Inc., and NEH Services, Inc.,   7. UNTRUE AND MISLEADING
     and                                          ADVERTISING IN VIOLATION
25                                                OF CAL. BUS. & PROF. CODE §§
     SAMUEL R. SEIDEN, individually               17500, ET SEQ., AND
26   and as an officer of OTA Franchise
     Corporation,                              8. VIOLATIONS OF CAL. BUS. &
27                                                PROF. CODE §§ 17200, ET SEQ.
                 Defendants.
28                                             DEMAND FOR JURY TRIAL

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     CLASS ACTION COMPLAINT                                                                                          iii
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 1           Amy Jine and Ana Biocini (“Plaintiffs”), by and through their attorneys,
 2   bring this action on behalf of themselves and all others similarly situated against
 3   OTA Franchise Corporation, Newport Exchange Holdings, Inc., NEH Services,
 4   Inc., Eyal Shahar, and Samuel R. Seiden (collectively, “Defendants”). Plaintiffs
 5   hereby allege, on information and belief, except as to those allegations which
 6   pertain to the named Plaintiffs, as follows:
 7   I.     NATURE OF COMPLAINT
 8                  Online Trading Company is a “fraudulent business”
 9                       “I have overwhelming proof of that fraud”
10        “I have seen 2 other companies in our industry be shut down by regulators
          within 24 hours for far less than what Eyal [Shahar] is allowing to happen
11              through OTA. OTA has employees who worked at those firms”
12        “I got more emails today (every day) [from students] that are losing money
                                      because of OTA”
13
                                 –SAMUEL R. SEIDEN
14                  Chief Trading Strategist, Online Trading Company
15           1.   Defendants OTA Franchise Corporation and Newport Exchange
16   Holdings, Inc., and NEH Services, Inc. (collectively, “Corporate Defendants”) do
17   business as Online Trading Academy (“OTA”), a fraudulent investment education
18   scheme. Defendants Eyal Shahar and Samuel R. Seiden (collectively, “Individual
19   Defendants”) are individuals and OTA executives that—both independently and
20   jointly with the Corporate Defendants—created, implemented, and/or participated
21   in the acts and practices set forth in this Complaint and are personally liable for the
22   conduct, as alleged herein. Defendants have been engaged in a nationwide ruse
23   since at least 2012, claiming to offer consumers a low-investment, high-profit,
24   online trading     strategy. Defendants target        elderly individuals,     making
25   representations to them that they are likely to grow their wealth substantially if they
26   purchase Defendants’ expensive investment training and use Defendants’ allegedly
27   patented strategy. Defendants have no reasonable basis to support their
28   representations regarding OTA’s strategy, as they do not track the trading

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 1   performance of their students, a fact which they also fail to disclose to their students.
 2   The vast majority of students who receive OTA training do not make the advertised
 3   income. Indeed, many students, including elderly individuals, lose their own money
 4   and have reduced capacity to replace their lost savings. Countless students are
 5   additionally saddled with high interest loans Defendants had induced them to take
 6   out to pay for OTA training, though such loans are not the subject of this Complaint.
 7   Numerous students paid Defendants tens of thousands of dollars, with some paying
 8   $50,000 or more. This fraudulent scheme affected tens of thousands of Americans.
 9         2.    Government regulators have taken notice of Defendants’ fraudulent
10   scheme. On February 12, 2020, the Federal Trade Commission (“FTC”) filed a
11   complaint against all of the same Defendants plus Darren Kimoto for violating
12   Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and the Consumer Review Fairness
13   Act of 2016, 15 U.S.C. § 45b.1 The FTC files a complaint when it has “reason to
14   believe” that the named defendants are violating, or are about to violate the law, and
15   it appears to the FTC that a proceeding is in the public interest.2 The FTC also
16   moved for a temporary restraining order, an asset freeze, appointment of a receiver,
17   other equitable relief, and an order to show cause why a preliminary injunction
18   should not issue against defendants, which the federal court granted on February
19   25, 2020.3 In granting the motion, the court found, inter alia:
20               (a)    In numerous instances, defendants, in marketing and selling
21                      trading and investing training programs, instructional materials,
22
     1
23    See Complaint for Permanent Injunction and Other Equitable Relief, FTC v. OTA
     Franchise Corp., et al., No. 8:20-cv-00287 (Feb. 24, 2020), ECF No. 1.
24   2
       See “FTC Sues Online Trading Academy for Running an Investment Training
25   Scheme.” FTC Press Release (Feb. 12, 2020), available at
     https://www.ftc.gov/news-events/press-releases/2020/02/ftc-sues-online-trading-
26   academy-running-investment-training.
     3
27    See Temporary Restraining Order with Asset Freeze, and Other Equitable Relief,
     and Order to Show Cause Why a Preliminary Injunction Should Not Issue, FTC v.
28   OTA Franchise Corp., et al., No. 8:20-cv-00287 (Feb. 24, 2020), ECF No. 46.

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 1                           and related goods and services, have made false or
 2                           unsubstantiated representations that consumers who purchase
 3                           defendants’ programs will likely earn substantial income, any
 4                           consumer can learn and use defendants’ strategy to earn income
 5                           without significant investable capital or free time, and
 6                           defendants’ instructors have amassed substantial wealth by
 7                           trading in the financial markets.
 8                     (b)   In numerous instances, defendants have used standardized refund
 9                           agreements to inhibit customers’ ability to post negative reviews
10                           about defendants and their services or communicate with law
11                           enforcement agencies and others about defendants and their
12                           services.4
13            3.       Under the temporary restraining order, the federal court barred
14   defendants from making false, misleading, or unfounded representations to
15   consumers about OTA training, including earnings claims.5 The court also
16   prohibited OTA from making or enforcing contracts that limit consumers’ ability to
17   speak to law enforcement agencies or post reviews online.6 Moreover, the court
18   barred OTA from collecting payments on the loans it made to customers to finance
19   purchases from the company and prohibited OTA from selling the debt to others or
20   report consumers to credit bureaus for non-payment of the loans.7 Additionally, the
21   order temporarily freezes defendants’ assets and limits how much individually
22   named defendants can spend to preserve funds for potential redress to consumers.8
23            4.       On April 2, 2020, the federal court granted FTC’s request for a
24   4
         Id. at 2.
25   5
         Id. at 6-7.
     6
26       Id. at 7-8.
     7
27       Id. at 8.
     8
28       Id. at 10-11.

     CLASS ACTION COMPLAINT                                                                3
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 1   preliminary injunction to halt OTA’s alleged illegal practices (Ex. A).9 Under the
 2   preliminary injunction’s terms, the defendants are prohibited from making false,
 3   misleading, or unfounded representations to consumers about OTA training,
 4   including earnings claims.10 OTA also is prohibited from making or enforcing
 5   contracts that limit consumers’ ability to speak to law enforcement agencies or post
 6   reviews online.11 The preliminary injunction appoints a monitor to oversee OTA’s
 7   marketing materials and practices and provide periodic reports to the court on this
 8   subject.12 The preliminary injunction freezes OTA’s assets and limits how much the
 9   individual defendants can spend to preserve funds for potential redress to
10   consumers.13
11   II.     PARTIES
12           A.     Plaintiffs
13            5.    Plaintiff Amy Jine resides in Pleasanton, California. On or around
14   September 14, 2019, based on OTA’s fraudulent representations and omissions, Ms.
15   Jine enrolled in OTA’s Market Timing Orientation and paid OTA $299.
16            6.    Plaintiff Ana Biocini resides in Oakland, California. On or around
17   April 22, 2017, based on OTA’s fraudulent representations and omissions, Ms.
18   Biocini enrolled in OTA’s Market Timing Orientation and paid OTA $299. At the
19   conclusion of the Market Timing Orientation, and based on OTA’s further
20   fraudulent representations and omissions, she enrolled in OTA’s Core Strategy
21   Program for $14,500. On or around January 5, 2018, Ms. Biocini complained to
22   Better Business Bureau about OTA’s practices.
23
     9
      See Preliminary Injunction, FTC v. OTA Franchise Corp., et al., No. 8:20-cv-
24   00287 (Apr. 2, 2020), ECF No. 130.
25   10
          Id. at 7-8.
     11
26        Id. at 8-9.
     12
27        Id. at 18-20.
     13
28        Id. at 11-13.

     CLASS ACTION COMPLAINT                                                           4
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 1        B.     Defendants
 2         7.    Defendant OTA Franchise Corporation (“OTA Corp.”), doing
 3   business as OTA, is a Nevada corporation with its principal place of business at
 4   17780 Fitch Avenue, Irvine, California 92614. OTA Corp. is wholly owned by
 5   Defendant Newport Exchange Holdings, Inc. (see infra). OTA Corp. purports to
 6   operate 10 OTA centers, holding itself out to consumers as “Online Trading
 7   Academy.” OTA Corp. transacts or has transacted business in this District and
 8   throughout the United States. At all times material to this Complaint, acting alone
 9   or in concert with others, OTA Corp. has advertised, marketed, distributed, or sold
10   training programs and related goods and services to consumers throughout the
11   United States.
12         8.    Defendant Newport Exchange Holdings, Inc. (“NE Holdings”), also
13   doing business as OTA, is a California corporation with its principal place of
14   business at 17780 Fitch Avenue, Irvine, California 92614. NE Holdings is wholly
15   owned by Defendant Eyal Shahar and his spouse. NE Holdings purportedly operates
16   the OTA center in Irvine, California, holding itself out to consumers as “Online
17   Trading Academy,” and extending credit to consumers interested in a loan to fund
18   their purchase. NE Holdings also purports to hold the “patent” OTA touts in its
19   marketing and sales pitch. NE Holdings transacts or has transacted business in this
20   District and throughout the United States. At all times material to this Complaint,
21   acting alone or in concert with others, NE Holdings has advertised, marketed,
22   distributed, or sold training programs and related goods and services to consumers
23   throughout the United States.
24         9.    Defendant NEH Services, Inc. (“NEH Services”), also doing business
25   as OTA, is a California corporation with its principal place of business at 17780
26   Fitch Avenue, Irvine, California 92614. NEH Services is wholly owned by
27   Defendant NE Holdings. NEH Services purportedly does not operate any OTA
28   centers. Instead, OTA Corp. created NEH Services to funds loans made by OTA

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 1   franchisees to consumers seeking to purchase OTA training. NEH Services has
 2   guaranteed a loan taken out by NE Holdings. NEH Services’ bank accounts suggest
 3   it is nothing more than a conduit through which funds pass from a third party loan
 4   servicer to NE Holdings. NEH Services transacts or has transacted business in this
 5   District and throughout the United States. At all times material to this Complaint,
 6   acting alone or in concert with others, NEH Services has advertised, marketed,
 7   distributed, or sold training programs and related goods and services to consumers
 8   throughout the United States.
 9          10. Defendant Eyal Shahar is sued herein as an officer of the Corporate
10   Defendants. Shahar is the founder and owner—directly or indirectly—of OTA
11   Corp., NE Holdings, and NEH Services. He is also the sole officer and director of
12   each of these Corporate Defendants. At all times material to this Complaint, acting
13   independently or jointly with others, Shahar has formulated, directed, controlled,
14   had the authority to control, or participated in the acts and practices set forth in this
15   Complaint. Shahar, in connection with the matters alleged herein, transacts or has
16   transacted business in this District and throughout the United States.
17          11. As OTA’s top executive, Shahar is also involved in its day-to-day
18   operations in marketing, finance, and sales, and has ultimate control of all of its
19   business. He is directly involved in OTA’s sales and marketing, including the
20   performance of OTA’s Market Timing Orientation (“MTO”) presenters and their
21   efforts to address consumers who seek evidence that students actually make money
22   with OTA training. Shahar reviewed OTA’s first internal survey, which showed that
23   most responding students were not making money. According to testimony by
24   OTA’s Vice President of Admissions, Keeley Hubbard, in an investigational
25   hearing on June 21, 2019, the results were so negative that Shahar forbade anyone
26   in the meeting on the survey from taking the results outside of the room. Shahar
27   also sought to keep people outside of the meeting from learning of the survey
28   results.

     CLASS ACTION COMPLAINT                                                                6
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 1         12. Defendant Shahar is also sued herein independently, in his personal
 2   capacity. Shahar is involved, independent of the Corporate Defendants, in hyping
 3   up and raising money to expand OTA’s operations through franchising. On
 4   information and behalf, Shahar pitched to wealthy investors that he had a lucrative
 5   financial education business called OTA.
 6         13. Defendant Samuel R. Seiden is sued herein as an officer of the
 7   Corporate Defendants. Seiden joined OTA in early 2006, is OTA’s Chief Trading
 8   Strategist, and has previously served in numerous other executive roles at OTA,
 9   including in Product Innovation & Education/Product Strategy and in Sales
10   Innovation & Sales Strategy. In at least some of these executive roles, he directly
11   reported to Shahar. At all times material to this Complaint, acting independently or
12   jointly with others, Seiden has formulated, directed, controlled, had the authority to
13   control, or participated in the acts and practices set forth in this Complaint. Seiden,
14   in connection with the matters alleged herein, transacts or has transacted business
15   in this district and throughout the United States.
16         14. As one of OTA’s top executives, Seiden is also the creator and most
17   visible proponent of OTA’s trading strategy, whose purported income generation
18   potential is the main reason offered for consumers to purchase OTA training. OTA
19   features Seiden prominently in its advertising and holds him out to consumers at
20   OTA’s sales events as the creator of OTA’s patent and “an impeccable master” of
21   its trading strategy. Seiden curated the OTA MTO presentation from 2014 to 2017.
22   He also participated in managing the MTO sales process, including addressing
23   issues with individual salespeople’s compensation or performance, and
24   disseminating an “MTO Master Document” outlining the content to be delivered at
25   each phase of the MTO sales pitch.
26         15. Defendant Seiden is also sued herein independently, in his personal
27   capacity. Seiden is involved, independent of the Corporate Defendants, in hyping
28   up, raising money for OTA, and driving consumers to OTA through making

     CLASS ACTION COMPLAINT                                                              7
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 1   appearances on TV and radio and contributing to investment publications.
 2         16. Seiden briefly left OTA in late 2018, citing a dispute about pay, a
 3   “decline in student success,” “Unethical & Deceptive Sales Messaging,” and
 4   hearing from students who were “struggling to pay monthly finance payment[s].”
 5   In a November 20, 2018 email to Hubbard, OTA’s Vice President of Admissions,
 6   Seiden called OTA a “fraudulent business,” claimed to have “overwhelming proof
 7   of that fraud,” and noted “I have seen 2 other companies in our industry be shut
 8   down by regulators within 24 hours for far less than what Eyal [Shahar] is allowing
 9   to happen through OTA. OTA has employees who worked at those firms.” Seiden
10   also noted receiving emails “every day” from consumers “that are losing money
11   because of OTA.” Seiden was in the meeting on OTA survey results and “for him .
12   . . this was proof” of “student success declining” and he procured a copy despite
13   Shahar’s order quarantining it, according to testimony by Hubbard. OTA transferred
14   $500,000 to Seiden in December 2018, and he returned to work at OTA shortly
15   thereafter.
16         17. Various persons, partnerships, sole proprietors, firms, corporations, and
17   individuals not named as defendants in this Complaint, and individuals, the
18   identities of which are presently unknown, have also participated with Defendants
19   in the offenses alleged in this Complaint.
20   III. INDEPENDENT AND JOINT ACTION
21         18. Each Individual Defendant acted independently at times and jointly
22   with the other Defendants at other times with respect to the acts, violations, and
23   common course of conduct alleged herein involving OTA’s fraudulent investment
24   scheme. Shahar and Seiden formulated, directed, controlled, had the authority to
25   control, or participated in the acts and practices of the Corporate Defendants that
26   constitute the common enterprise.
27         19. The Corporate Defendants have operated as a common enterprise while
28   engaging in OTA’s fraudulent scheme. OTA Corp., NE Holdings, and NEH

     CLASS ACTION COMPLAINT                                                          8
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 1   Services have conducted OTA’s business through an interrelated network of
 2   companies that have unified advertising, common ownership, officers, managers,
 3   business functions, employees, and office locations. They are jointly and severally
 4   liable for the acts.
 5          20. Each Defendant has ratified and approved the acts of each of the other
 6   Defendants. Each Defendant aided and abetted, encouraged, and rendered
 7   substantial assistance to the other Defendants in making false representations to,
 8   and fraudulently concealing information from, Plaintiffs and the Class. In taking
 9   action to aid and abet and substantially assist the commission of these wrongful acts
10   and other wrongdoings complained of, each Defendants acted with an awareness of
11   his/its independent wrongdoing and realized that his/its conduct would substantially
12   assist the accomplishment of the wrongful conduct, wrongful goals, and
13   wrongdoing.
14   IV. PERSONAL LIABILITY OF INDIVIDUAL DEFENDANTS
15          21. Based on information and belief, the Individual Defendants are the alter
16   egos of the Corporate Defendants. Shahar and Seiden have maintained such a unity
17   of interest and ownership that the separate personalities of the corporate entities and
18   the individuals no longer exist and that an inequitable result would follow if the
19   entities and individuals are treated as separate.
20          22. Shahar and the Corporate Defendants are not separate entities. As
21   reflected below, Shahar is the sole officer and director of each of the Corporate
22   Defendants:
23                (a)       OTA Corp.: OTA Corp.’s (Profit) Initial/Annual List of
24                          Officers, Directors, and State Business License Application filed
25                          with Nevada’s Office of the Secretary of State on February 25,
26                          2019 identifies Shahar as the President, Secretary, Treasurer, and
27                          Director of OTA Corp. No other officers or directors are
28                          identified. Similarly, the same form filed with the same office on

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 1                      April 27, 2004 identifies Shahar as the President, Secretary,
 2                      Treasurer, and Director of OTA Corp. No other officers or
 3                      directors are identified. Likewise, the Articles of Incorporation
 4                      filed with the same office on March 8, 2004 only lists Shahar next
 5                      to Board of Directors/Trustees.
 6                (b)   NE Holdings: NE Holdings’ Statement of Information filed with
 7                      California’s Office of the Secretary of State on December 4, 2017
 8                      identifies Shahar as the Chief Executive Officer, Secretary, and
 9                      Chief Financial Officer. It also only lists Shahar under Directors.
10                      The same form filed with the same office on November 27, 2019
11                      indicates there has been no change in any of the information
12                      contained in the last Statement of Information filed.
13                (c)   NEH Services: NEH Services’ Statement of Information filed
14                      with California’s Office of the Secretary of State on March 6,
15                      2015 identifies Shahar as the Chief Executive Officer, Secretary,
16                      and Chief Financial Officer. It also only lists Shahar under
17                      Directors. The same form filed with the same office on
18                      November 27, 2019 indicates there has been no change in any of
19                      the information contained in the last Statement of Information
20                      filed.
21          23. As Shahar is the sole officer and director of each of the Corporate
22   Defendants, the separate personalities of Shahar and the Corporate Defendants do
23   not exist.
24          24. Upon information and belief, Shahar has disregarded corporate
25   formalities, such as holding corporate meetings, keeping meeting minutes, and
26   maintaining adequate corporate records.
27          25. Shahar is personally liable because he is involved, independent of the
28   Corporate Defendants, in hyping up and raising money to expand OTA’s operations

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 1   through franchising. On information and behalf, Shahar pitched to wealthy investors
 2   that he had a lucrative financial education business called OTA.
 3            26. Seiden is personally liable because he is involved, independent of the
 4   Corporate Defendants, in hyping up, raising money for OTA, and driving
 5   consumers to OTA through making appearances on TV and radio and contributing
 6   to investment publications.
 7            27. The Corporate Defendants are therefore owned by the same person
 8   (Shahar), operated by the same people (Shahar and Seiden), and are shells and
 9   conduits for the Individual Defendants’ affairs. The corporate form was merely an
10   illusion that permitted Sharhar and Seiden to benefit.
11            28. An inequitable result would follow if the facts alleged in this Complaint
12   are treated as those of the Corporate Defendants alone given that the Individual
13   Defendants created and maintained the fraudulent scheme that is OTA for many
14   years:
15                 (a)    Shahar ultimately authorizes and controls OTA’s operations and
16                        is directly involved in the marketing and sales of OTA training,
17                        which means he has knowledge of OTA’s fraudulent claims.
18                 (b)    Seiden has direct knowledge of the fraudulent earnings and
19                        related claims through his own participation in making those
20                        claims at MTO events and directing other MTO presenters to
21                        make such claims.
22                 (c)    Seiden’s trading results put him on notice that the claims were
23                        false (see infra).
24                 (d)    Seiden flat out stated that OTA was a “fraudulent business.”
25                 (e)    Shahar and Seiden directly participate in, and have authority and
26                        control over, OTA’s deceptive marketing, and knew of, or at
27                        minimum recklessly disregarded, the false, misleading, and
28                        unsubstantiated nature of OTA’s claims.

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 1               (f)    Shahar and Seiden were aware that OTA’s own surveys showed
 2                      its claims were untrue.
 3         29. Disregarding Shahar and Seiden’s involvement in the scheme would
 4   essentially sanction the fraud and promote injustice. Tens of thousands of
 5   consumers, many of whom are elderly individuals with limited resources and
 6   reduced capacity to replace their lost savings, have been injured as a result of the
 7   Individual Defendants’ scheme that has resulted in consumer losses of over $370
 8   million from January 2014 to May 4, 2019.
 9   V.   JURISDICTION AND VENUE
10         30. This Court has original jurisdiction over this action under the Class
11   Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), as to the named Plaintiffs and
12   the proposed class (“Class”), because the Class contains more than 100 members,
13   the aggregate amount in controversy exceeds $5 million, and members of the Class
14   (“Class Members”) reside across the United States and are therefore diverse from
15   Defendants. The Court also has supplemental jurisdiction over Plaintiffs and the
16   Class’ state law claims pursuant to 28 U.S.C. § 1367(a).
17         31. This Court has personal jurisdiction over Defendants because they have
18   significant minimum contacts with California, and/or they otherwise intentionally
19   availed themselves of the laws and markets of California through the promotion,
20   marketing, and advertising of OTA in California and on the Internet to consumers
21   in California.
22         32. Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(2)
23   because a substantial part of the events or omissions giving rise to Plaintiffs’ claims
24   occurred in this District. Indeed, until recently, OTA has offered numerous
25   programs and courses of instruction in Irvine, California. Plaintiffs have filed an
26   affidavit showing that this action has been commenced in a proper county pursuant
27   to California Civil Code § 1780(d) (see Ex. B).
28

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 1   VI. FACTUAL ALLEGATIONS
 2        A.     OTA Background
 3         33. Shahar founded OTA in Irvine, California in 1997. OTA operates
 4   through 10 separate locations across the United States and abroad as well as over
 5   30 franchise locations. OTA employs around 500 to 1,000 people and has had over
 6   250,000 students over the years.
 7         34. OTA offers three learning tracks: Core Strategy, Extended Learning
 8   Track (XLT), and Mastermind Community. Core Strategy and XLT tracks each
 9   contain various programs, such as Stocks, Forex, Futures, Options, etc. The
10   Mastermind track is a bundle of OTA’s most elite training and support, including a
11   subscription that allegedly permits subscribers to reduce the time they spend
12   identifying profitable trades because it contains the “Daily Grid,” which provides
13   subscribers with a list of price ranges, or “zones” in which an asset’s price will
14   change direction, for several dozen specific financial assets.
15         35. Currently, the Core Strategy course, which is a prerequisite for all other
16   programs and is on the lowest learning track, costs $7,700. The XLT courses begin
17   at $9,350 for the first three months and $700 per month thereafter, or $13,750 for
18   life, and requires the completion of the Core Strategy course. The Mastermind
19   Community, which is the most expensive offering, costs $15,000 for the first year
20   and $5,000 per year thereafter, or $25,000 for life, and requires the completion of
21   at least three XLT courses in addition to the Core Strategy course.
22         36. OTA began offering franchises for trading education and training
23   centers operated by independent owners on April 20, 2004. The initial franchise fee
24   ranges from $100,000 to $250,000. OTA exercises significant control over its
25   franchises, providing training to the franchisees’ salesforce and materials to guide
26   their sales pitches. OTA also requires franchisees to pay multiple and significant
27   advertising and marketing fees over which OTA has sole discretion (e.g., a
28   Marketing and Advertising Fee of the greater of $1,000 or 3% of monthly gross

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 1   volume, a Special Marketing Projects fee of up to $50,000 per year, and a Global
 2   Marketing Services fee of up to $15,000 per month). Franchises are an extension of
 3   OTA and have no independent power or authority regarding the training offered.14
 4   Franchises must therefore provide the same, uniform learning experience as OTA-
 5   owned locations.
 6         37. OTA’s estimated yearly revenue is $150 million.
 7        B.     OTA Advertising Campaign
 8         38. Defendants centrally control OTA’s advertising campaign. They have
 9   marketed, advertised, and sold OTA training, including seminars, courses, and
10   instructional materials on trading and investing, to consumers throughout the United
11   States and internationally since at least 2004.
12         39. Defendants mass advertise its training to consumers nationwide through
13   the Internet, direct mail, telemarketing, television, and radio. OTA runs 30-minute
14   infomercials on nationwide television, radio ads from New York City (where they
15   aired over 10,000 times in the last two years) to Fargo, North Dakota, and videos
16   on its website and YouTube.
17         40. Regardless of advertising medium, the theme of OTA’s advertising
18   campaign is that consumers will generate substantial income through online trading
19   in the financial markets with OTA training. For example:
20               (a)    In a 2019 TV infomercial, OTA advertises a “rules-based
21                      strategy” to “generate daily or monthly income,” labeling it “a
22                      proven step-by-step approach,” and providing testimonials,
23                      including a consumer who “made $12,000” in three hours and
24                      another who “made $32,000 in less than seven trading days.”
25   14
       For example, franchises must “purchase, use and offer each of, and only, the
26   types, brands and/or quality of Course Materials, Educational Products, broker-
     dealer services and other products and services as [OTA] designate[s] and, where
27   [OTA] require[s], use only those suppliers that [OTA] designate[s]. [Franchises]
     will be required to follow the ‘Curriculum’ or course outline established by [OTA]
28   for use within the Center classrooms.”

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 1               (b)    In a 2018 radio ad that ran at least 880 times, OTA advertised
 2                      “more income” through a “proven step by step approach to
 3                      investing” that “can work in any market condition” and “generate
 4                      active income . . . and create passive income to build your
 5                      retirement.”
 6               (c)    In a 2018 radio ad that ran at least 581 times, an alleged OTA
 7                      “student” claims “it’s almost like having a second paycheck
 8                      without having a second job,” and that any ordinary person can
 9                      do it.
10               (d)    In a 2018 TV infomercial, OTA contends that all consumers can
11                      benefit from its training, “[w]hether you only have a few hours a
12                      week or a few hours a month . . .”
13               (e)    In a 2019 Fargo radio ad, OTA makes the same contention,
14                      stating, “80 percent of the individuals that come through our
15                      doors don’t know a stock from a rock.”
16         41. The objective of OTA’s advertising campaign is to drive consumer to
17   attend a free, three-hour preview event called “Market Timing Preview” or “Power
18   Trading Workshop” (see infra) where consumers believe they will learn how to
19   make money in the financial markets. In addition to these live events, typically held
20   in hotel conference rooms and over 40 brick-and-mortar training centers throughout
21   the United States and internationally, OTA training programs are for sale online.
22        C.     OTA Sales Events
23               1.     Market Timing Preview Event
24         42. The Market Timing Preview Event is typically a free three-hour
25   seminar held at an OTA center or franchise. The goal of the Market Timing Preview
26   is to entice students to enroll in a three-day MTO event (see infra). While the three-
27   hour Preview Event is free, consumers do not learn about market timing or power
28   trading at this event. Instead, consumers endure a marketing ploy reminiscent of a

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 1   timeshare presentation during which OTA representatives regurgitate the claims
 2   made in the advertising campaign. The Preview Event is essentially a sales
 3   presentation pitching the MTO event, where consumers allegedly learn how to
 4   reliably time the financial markets. OTA informs consumers that, after attending the
 5   MTO event, they will have all the necessary tools to trade like a professional and
 6   that they can re-take the MTO event as many times as they wish. Many consumers
 7   believed they would be able to trade in the financial markets with confidence after
 8   participating in the MTO event.
 9         43. Illustrative examples of Defendants’ deceptive business activities at the
10   Preview Event are set forth infra.
11               2.    Market Timing Orientation
12         44. The MTO event is a three-day sales presentation and Defendants’ main
13   sales platform for OTA’s programs, courses, and membership. OTA advertises the
14   MTO event’s cost as $600 but typically sells it for $299. OTA “instructors” present
15   and “education counselors” staff the MTO event. The instructors and education
16   counselors are salespeople paid on commission despite their titles. During the first
17   two days, instructors provide general information about the financial market and
18   asset classes to consumers. Throughout the MTO event, each consumer meets
19   individually with an education counselor multiple times to discuss, select, and
20   purchase OTA tracks (e.g., the XLT track), courses (e.g., the Core Strategy course,
21   which is a prerequisite for all other programs), and membership to the Mastermind
22   Community.
23         45. At the MTO event, OTA’s instructors expand on the earnings claims
24   made in the advertising campaign and Preview Event. Instructors present
25   testimonials and simulated trades intended to deceive consumers into thinking that
26   they can earn large profits with small investments with OTA training and replace or
27   supplement their existing jobs with online trading. Instructors give consumers the
28   impression that they can make the same hypothetical trades and become the

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 1   testimonials presented.
 2         46. OTA assigns an education counselor to every student who enrolls in the
 3   three-day MTO event. The education counselor is supposed to make contact with
 4   each student a number of times before the MTO event concludes (“Touch Points”).
 5   During the Touch Points, the education counselor introduces, and asks the student
 6   to complete, an Income and Wealth Education Planner, a questionnaire that requests
 7   consumers to disclose all of their assets, including real estate and retirement
 8   accounts, which the educational counselors then leverage in their sales pitch. OTA
 9   gives potential students the impression that admission into the OTA is selective but,
10   in fact, OTA will enroll anyone who has the money to pay for the course or who is
11   eligible for financing.
12         47. OTA’s objective is to drive sales to multiple programs, higher priced
13   programs, and Mastermind Community membership from the MTO event.
14   Education counselors pitch the Mastermind Community to consumers with
15   extensive assets, which costs $25,000 for a lifetime membership but also requires
16   consumers to purchase a number of prerequisite courses. Education counselors pitch
17   packages that range from thousands of dollars to hundreds of thousands of dollars
18   for those with more limited assets. Like other scams, education counselors inform
19   consumers that the prices already reflect discounts, and the discounts expire if
20   consumers decide to purchase after the MTO event concludes.
21         48. Illustrative examples of Defendants’ deceptive business activities at the
22   MTO event are set forth infra.
23        D.     Defendants’ Deceptive Conduct
24         49. Defendants have deceived consumers since at least 2012, claiming that
25   OTA training will allow them to generate significant earnings through online
26   trading in the financial markets and causing each of its students to spend up to tens
27   of thousands of dollars on OTA programs, courses, and membership. Defendants
28   have done so by luring consumers, including elderly individuals, to register and

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 1   attend the initial free Preview Event, next the $299 MTO event, and finally
 2   additional programs ranging from $7,700 to $25,000 with false and unsubstantiated
 3   promises of generating significant earnings through trading in the financial markets.
 4   OTA has already taken more than $370 million from consumers in the United States
 5   since 2014. Illustrative examples of Defendants’ deceptive conduct are set forth
 6   below, though not limited thereto.
 7               1.      Misrepresentations Regarding Earning Income with OTA
                         Training
 8
                  “[S]tudents ... averag[e] about 300 dollars a day” and
 9           could make “75 grand a year as a secondary form of income[.]”
10                    —OTA Presenter, Dale Sargood, at a MTO Event
11

12         50. OTA misrepresents to consumers through its nationwide advertising
13   campaign and sales events in dozens of cities that they can earn income through
14   OTA training. OTA also misrepresents the income can be substantial in terms of
15   dollar amounts:
16               (a)     At a MTO event on March 22, 2019, OTA presenter, Darren
17                       Kimoto, indicated consumers who follow OTA strategies would
18                       make $800 per day, which is $200,000 per year, spending an hour
19                       a day on trading.
20               (b)     At the MTO event on March 21, 2019, Kimoto stated you can
21                       “[f]ind, analyze, execute,” a trade “in less than 10 minutes,” and
22                       that you can do “that every day, find a trade every other day,
23                       make an extra 600 bucks.”
24               (c)     At a MTO event, OTA presented a “plan” for a consumer
25                       yielding “Avg. $300/Day” using only “$5,000” of capital and “2
26                       Hours/Day.”
27               (d)     At a MTO event on June 28, 2019, OTA presenter, Darek Zalek,
28                       posed, as if it is realistic, “[I]f you make 9,000 dollars in a day,

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 1                    you know, or five grand in a day, how many of these do you need
 2                    to pay off the [OTA] tuition? I’m just saying, you know. Not too
 3                    many, yes or no?”
 4              (e)   At a MTO event in November 2019, OTA presenter, Dale
 5                    Sargood, indicated he only spends “30 minutes to an hour a day”
 6                    trading and “students ... averag[e] about 300 dollars a day[.]” He
 7                    suggests consumers would make “75 grand a year as a secondary
 8                    form of income” and with a $5,000 futures account and with
 9                    “3,300 invested” you could earn “100 grand a year[.]”
10              (f)   At a MTO event on March 22, 2019, Kimoto claimed that
11                    consumers “would have made about $94,000 last year just taking
12                    those trades in those [XLT] sessions with us” in 2018.
13              (g)   At a MTO event, OTA offered a January 16, 2013 testimonial
14                    stating, “I’m profitable 85% of the time,” and claiming monthly
15                    profits in the thousands or tens of thousands of dollars.
16              (h)   At a MTO event, OTA provided a testimonial from a “student”
17                    who achieved a 31.7% profit in “Short Term Income” with “No
18                    Prior Trading Knowledge.”
19         51. OTA also represents the income will be substantial in general terms:
20              (a)   In various radio ads between 2018 and 2019, OTA claimed
21                    consumers will learn to “generate income,” or “daily income,” or
22                    “monthly cash flow.”
23              (b)   At a Preview Event on June 12, 2019, OTA presenter, Tarantino
24                    Smith, claimed OTA would help consumers make “trading
25                    [your] primary source of ... income,” calling it “fire [your] boss
26                    level” income.
27              (c)   At the same event, Smith stated consumers come to OTA to make
28                    income that allows them to work less, “so you can spend more

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 1                      time with the family.”
 2               (d)    At a MTO event on March 22, 2019, OTA presenter, Darren
 3                      Kimoto, presented a testimonial stating, “It took me 18 years to
 4                      develop a decent salary. After three months here at OTA, I’m
 5                      making almost as much money as my business.”
 6         52. OTA represented to consumers, through various examples and
 7   testimonials, that they will be able to earn substantial income by purchasing OTA
 8   training. OTA knew that its representations were false when it made them because
 9   OTA did not monitor its students’ trading performance. OTA’s limited surveys
10   indicated that most of its students did not trade or lost money when they traded, and
11   TradeStation (the online trading platform used by OTA students) confirmed such
12   indications. See, infra, at Fraudulent Concealment. OTA intended consumers to rely
13   on its representations of earnings because it intentionally failed to disclose that it
14   did not track students’ trading performance or the results from its limited surveys
15   or TradeStation reports. Consumers reasonably relied on OTA’s representations of
16   earnings when they purchased OTA training given the specific nature of the
17   examples and seemingly honest testimonials. Consumers were harmed because
18   each paid substantial money for OTA training that failed to materialize into the
19   substantial income that OTA advertised and expanded on at the sales events.
20   Consumers’ reliance on OTA’s representations of substantial earnings were a
21   substantial factor in causing them to lose money.
22               2.     Misrepresentations Regarding OTA’s Strategies
23    “Over 35,000 of our graduates have the opportunity to live more comfortable
     and satisfied lives as a result of the skills they’ve learned here at the Academy.”
24
       —Eyal Shahar’s Welcome Letter to All Students That Enroll in the MTO
25                                   Event
26                      a.    Patented Market Timing Strategy
27         53. OTA misrepresents its strategies to consumers. First, it advertises to
28   consumers that it has a patented strategy to time the market that anyone can apply

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 1   to generate substantial profits through trading in stocks, foreign currencies,
 2   commodities, or other assets. Specifically, OTA’s patent on timing the market and
 3   strategy purportedly permits its students to realize when to buy and sell investments.
 4   This is a false and misleading representation of the patent. While OTA does, in fact,
 5   have a patent for a Computer Based Trading System Utilizing Supply and Demand
 6   Analysis (U.S. Pat. No. US8650115B1), OTA has not substantiated and cannot
 7   substantiate its claim that consumers are likely to profit using OTA’s patented
 8   strategy and that OTA’s patented strategy achieves the results described in its
 9   advertisements. Nevertheless, OTA references its patent as proof that its strategy
10   works. OTA has made the following misrepresentations regarding its patented
11   strategy:
12               (a)    At a Preview Event on December 13, 2018, OTA presenter,
13                      Dawn Landry, asserted OTA “has a patent on the fact that you
14                      can time the markets,” and the “strategy” it teaches is “a set of
15                      rules” that “gives us the ability to know when to get in and when
16                      to get out.”
17               (b)    Similarly, at a Preview Event on June 12, 2019, OTA presenter,
18                      Tarantino Smith, assured consumers they can safely ignore
19                      people who “say, ‘Oh, they can’t time the market,’” because “to
20                      get a patent, we had to ... prove it to the Government.” Such a
21                      claim is false, and misunderstands the nature of obtaining a
22                      patent.
23               (c)    At a Preview Event on December 13, 2018, OTA presenter,
24                      Landry explained OTA’s “core strategy is a set of rules” that
25                      identifies where “there’s a high probability” price will move to a
26                      certain point.
27               (d)    At the conclusion of Preview Events, consumers who enroll in
28                      the MTO event received a welcome letter right from Eyal Shahar

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 1                     claiming that the MTO event will introduce OTA’s “patented
 2                     supply and demand trading and investing strategy which allows
 3                     us to anticipate market moves with a high degree of accuracy.”
 4                     Shahar’s letter also contends “[o]ver 35,000 of our graduates
 5                     have the opportunity to live more comfortable and satisfied lives
 6                     as a result of the skills they’ve learned here at the Academy.”
 7              (e)    At a MTO event on March 23, 2019, OTA presenter, Kimoto,
 8                     claimed OTA gives purchasers “rules, verified rules, tested rules
 9                     that we know work[.]”
10              (f)    At a MTO event on March 21, 2019, OTA presenters stressed to
11                     consumers the strategy “stack[s] odds in your favor” and that
12                     profits are a “mathematical certainty.”
13                     b.    3-to-1 Reward-to-Risk Ratio Strategy
14         54. Second, OTA advertises to consumers that it has a “3-to-1 reward-to-
15   risk ratio” strategy, whereby each winning trade will yield profits of three times
16   what is risked, more than making up for losses on losing trades. Despite that this
17   strategy is only based on hypotheticals, OTA nevertheless emphasized it,
18   misrepresenting consumers’ actual reward-to-risk ratio:
19              (a)    At a MTO event on March 22, 2019, OTA presenter, Darren
20                     Kimoto, claimed, “So every day you expect one to be a loser, one
21                     to be a winner, on average. Three-to-one. So you lose one on one
22                     and you make three on the other, so everyday you’re coming out
23                     with a -- basically two times your risk. So whatever you’re
24                     risking, every day you’re making twice that on average.”
25              (b)    At a MTO event on May 9, 2019, OTA presenter, Rick Wright,
26                     remarked, “Reward-to-risk ratio. . . . [Y]ou should start with a 3
27                     to 1. I’m going to risk 10 bucks to make 30 . . . [I]f you’re
28                     disciplined and can follow the rules, . . . you only have to be right

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 1                    . . . 25 percent of the time . . . to break even.”
 2              (c)   At a MTO event on March 21, 2019, Kimoto depicted the effect
 3                    of the “3-1 reward-to- risk ratio” with a hypothetical week of
 4                    trading in which each trade either loses $100 or gains $300,
 5                    yielding a profit of $2,000 for the week.
 6              (d)   At a MTO event on November 21, 2019, OTA presenter, Dale
 7                    Sargood, illustrated a hypothetical week of ten trades in which
 8                    each trade either loses $4,000 or gains $12,000, with only three
 9                    winning, overall yielding a profit of $8,000 for the week.
10                    c.     Daily Grid Strategy
11         55. OTA also misrepresents the benefits of the Daily Grid, a feature of the
12   Mastermind Community:
13              (a)   As discussed, supra, Mastermind’s “Daily Grid” allegedly
14                    identifies “zones,” in which an asset’s price will change
15                    direction, thereby purportedly enabling traders who use the grid
16                    to enter a position just before the turn, buying before the price
17                    rises and selling before it falls. The Daily Grid forms the basis
18                    for claimed profits. OTA calls the Daily Grid its crown jewel and
19                    a major selling point for Mastermind. OTA’s analysis of the
20                    Daily Grid’s selections reflects, however, that most “zones”
21                    identified in the Daily Grid never yielded an actual trade because
22                    the asset’s price did not move into the “zone.” OTA’s own
23                    calculation of the “zone hit rate” is under 50%.
24              (b)   At a MTO event on March 22, 2019, OTA presenter, Kimoto,
25                    suggested Mastermind is a safety net for profits: “we don’t want
26                    you going out and finding your own trades at first. So we give
27                    you another bank of trades that are pre-vetted called pro picks.”
28              (c)   At a MTO event on November 20, 2019, OTA presenter, Dale

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 1                      Sargood, promised consumers will learn by copying instructor’s
 2                      successful trades using their own money.
 3         56. OTA represented to consumers that its various strategies would enable
 4   them to earn substantial income. OTA knew that its representations were false when
 5   it made them in light of OTA’s lack of monitoring student performance and the
 6   results from OTA’s limited surveys and TradeStation reports. See, infra, at
 7   Fraudulent Concealment. OTA intended consumers to rely on representations about
 8   its financial strategies due to OTA’s intentional failure to disclose key information
 9   relating to students’ trading performance. Consumers reasonably relied on OTA’s
10   representations of patented, powerful, and profitable strategies when they purchased
11   OTA training given the frequent references to the patent, the rewards outweighing
12   the risks, the false representations concerning their students’ trading outcomes, and
13   the Daily Grid identifying all buy and sell opportunities for consumers. Consumers
14   were harmed because each paid up to tens of thousands of dollars for OTA strategies
15   that failed to work. Consumers’ reliance on OTA’s representations of seemingly
16   infallible strategies were a substantial factor in causing them to lose money.
17               3.     Misrepresentations Regarding OTA “Instructors” and
                        “Education Counselors”
18
19         57. OTA “instructors” and “education counselors” advertise its purported
20   financial training and strategy to consumers at live sales events like the Preview
21   Event and MTO event. OTA also represents, and creates the impression, that its
22   instructors and counselors are themselves successful traders. OTA holds them out
23   to consumers as teachers and counselors but, in fact, they are salespeople paid on
24   commission:
25               (a)    OTA’s Vice President of Admissions, Keeley Hubbard, testified
26                      that experience in financial markets or educational counseling is
27                      not required to be hired as an education counselor. Additionally,
28                      Preview Event presenters are paid 2% of sales, and MTO

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 1                     instructors are paid 3% of sales.
 2               (b)   A January 25, 2018 offer letter to a former education counselor,
 3                     Diane Luu, outlined a compensation plan stating, “You will earn
 4                     commissions from leads and registrations assigned to you by
 5                     management based on cash collected from your individual ‘gross
 6                     sales.’”
 7               (c)   A February 27, 2018 sales training guide advised, “Don’t look
 8                     like, act like or sound like, a traditional salesperson”; indicated
 9                     that consumers who come to OTA are “Upset,” “Frustrated,”
10                     “Worried,” “Tired of…,” “Nervous,” “Anxious,” and “Sick
11                     of…”; and stated, “We ask questions to discover the IMPACT of
12                     the PAIN so they will make a decision to buy a SOLUTION[.]”
13               (d)   Luu, a former OTA education counselor, stated in her November
14                     7, 2019 declaration: “It was clear to me from the beginning of the
15                     recruiting process that the ‘Education Counselor’ position was a
16                     sales position.” Additionally, “[a]s an Education Counselor, my
17                     role was to sell Online Trading Academy courses and seminars
18                     to potential students.”
19         58. OTA represented to consumers that its instructors and education
20   counselors were, in fact, traders who could truthfully and accurately provide
21   information regarding trading and counselors who could customize an education
22   plan for them. OTA’s representations were false because its instructors and
23   education counselors were merely salespeople whose objective was to enroll
24   students in tracks and courses that cost thousands of dollars depending on their
25   financial circumstances. OTA knew its representations were false when it made
26   them because OTA intentionally gave its salespeople deceptive titles and intended
27   that consumers rely on the deceptive titles. Consumers reasonably relied on OTA’s
28   instructors and education counselors due to their titles and statements in deciding

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 1   whether to purchase OTA training. Additionally, instructors and education
 2   counselors give potential students the impression that OTA admission is selective
 3   but, in truth, OTA enrolled anyone who had the money to pay for it. Consumers
 4   were harmed because each paid up to tens of thousands of dollars for OTA training.
 5   Their reliance on OTA’s representations relating to its instructors and education
 6   counselors was a substantial factor in causing their harm.
 7
                 4.     Misrepresentations Regarding the Successes of OTA
 8                      Instructors
 9                      a.    Unsubstantiated Historical Success
10         59. Furthermore, OTA instructors, who sell OTA’s training to consumers
11   in live seminars, hold themselves out to potential students as converts and successful
12   traders themselves. The instructors indicate that they themselves are living proof
13   that OTA’s financial training works, representing that they became successful
14   traders and amassed substantial wealth using OTA’s strategy:
15               (a)    At a MTO event on March 21, 2019, OTA presenter, Darren
16                      Kimoto, claimed that he once “was sitting in your seat right
17                      there,” and “had been struggling as a trader,” with “close to
18                      $60,000 in losses.”; that after learning to apply OTA’s strategy
19                      he quit his job “because I was making as much in the trading”;
20                      and proceeded to describe the “very affluent neighborhood” he
21                      lives in, where “kids in the neighborhood” have “live-in nannies,
22                      cooks, gardeners,” and the latest Apple iPhones and iWatches.
23               (b)    At a MTO event on June 28, 2019, OTA presenter, Darek Zelek,
24                      claimed he was a full-time trader but previously was a contractor
25                      who knew nothing about trading until becoming an OTA
26                      “student.”; described the wealth and exclusivity of the town
27                      where he now lives, including that his neighbor is swimming
28                      champion Michael Phelps, who taught his daughter to swim; and

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 1                     informed potential students they would not be able to achieve
 2                     such wealth “from a regular job,” but only “through
 3                     investments,” stating that he purchased his home there with
 4                     profits from trading; and shared that he drives a “750” (the BMW
 5                     750 is a luxury car) and built a “casita” on his property so that his
 6                     parents can have their own residence when they come to visit his
 7                     family.
 8               (c)   At a MTO event on November 22, 2019, OTA presenter, Dale
 9                     Sargood, indicated that he takes his family on seven or eight
10                     multi-week vacations every year, for which he budgets $15,000
11                     per week; that he and his children enjoy expensive hobbies; and
12                     that OTA “cannot pay me enough” to teach their asset class
13                     courses because of their longer duration, which “takes me away
14                     from . . . making money.”
15         60. OTA represented to consumers that its instructors were (and are)
16   successful traders. OTA’s representations were false because its instructors were
17   not successful traders. And, in fact, OTA made no effort to determine the trading
18   history or success of its instructors. For example, Samuel Seiden, who OTA holds
19   out as the inventor and most skilled practitioner of OTA’s strategy, has done very
20   little trading from January 2016 to October 2019, and the trades he did make yielded
21   a net loss of approximately $20,000. Sean Kim, a MTO presenter who appears in
22   OTA infomercials and is held out by OTA as an expert trader, for years has only
23   managed to break even despite heavy trading on a six-figure account. Darren
24   Kimoto, another MTO presenter, had trading net losses of $17,349 from January
25   2016 to October 2019 despite a historically strong economic cycle. Darek Zelek,
26   yet another MTO presenter, lost money in 2018, and as of August 2019, had made
27   only a few thousand dollars in 2019.
28         61. OTA knew its representations were false when it made them. OTA

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 1   intended consumers rely on instructors’ representations of their extravagant
 2   lifestyles because instructors and education counselors would point to this when
 3   potential students asked about how much they would make with OTA training. OTA
 4   was therefore aware that its instructors’ success was material to consumers’ decision
 5   to purchase OTA training. Consumers reasonably relied on OTA’s representations
 6   regarding its instructors’ success because they reasonably believed the instructors
 7   were traders. Consumers were harmed because each paid up to tens of thousands of
 8   dollars for OTA training. Consumers’ reliance on OTA’s representations relating to
 9   its instructors’ success was a substantial factor in causing their harm.
10                      b.      Unsupported Live Success
11          62. Like the instructors, the trades performed by them at the MTO are fake,
12   simulated transactions intended to hoodwink potential students into thinking online
13   trading is fast, easy, and lucrative:
14               (a)    At a MTO event on March 21, 2019, OTA presenter, Kimoto,
15                      described, “[This morning . . . I went ahead and placed a trade . .
16                      . So that was in . . . 30-minute period of time, ended up locking
17                      in $1,200 in profit.”
18               (b)    At a MTO event on June 28, 2019, OTA presenter, Zelek, stated,
19                      “I actually have a position right now that I should probably
20                      manage. Is it okay if I make some adjustments on my stocks,
21                      guys? . . . There, done, I closed for [$]6,050, done.”);
22               (c)    At a MTO event on November 20, 2019, OTA presenter,
23                      Sargood, lied, “So this is a, a live trade we have on right now
24                      with the S&P 500. . . . this is this morning that we got into that
25                      trade here . . . so worst case scenario on this trade we’ll make 300
26                      bucks. All right. Are we going to put that in the bank? . . . So we
27                      just hit the stop loss there. We are now out of that transaction.”
28          63. OTA represented to consumers that the fake trades were, in fact, live

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 1   and actual trades even though they were not. OTA knew that its representations
 2   were false when it made them because its instructors hand-picked easy and
 3   profitable trades to simulate before performing them. Further, anticipating the
 4   conflict presented by instructors’ trading success and their employment as OTA
 5   instructors, OTA even provided talking points to its education counselors for use in
 6   handling consumers’ questions about why the instructors would spend time teaching
 7   if they made so much money trading, according to the testimony of OTA’s Vice
 8   President of Admissions Keeley Hubbard. OTA intended that students rely on their
 9   instructors’ performed trades and, more importantly, believe that they could emulate
10   their instructors’ trades on their own. Students reasonably relied on OTA’s
11   simulated trades because they witnessed what they thought were live, successful
12   trades. Consumers were harmed because each paid up to tens of thousands of dollars
13   for OTA training that did not adequately prepare them to trade profitably. Indeed,
14   most of OTA’s students ultimately did not trade or make money trading. See, infra,
15   at Fraudulent Concealment. Students’ reliance on OTA’s representations regarding
16   their instructors’ performed trades was a substantial factor in them harm.
17               5.     Misrepresentations Regarding OTA Students
18          “[A]s long as I follow the system, the outcome will be provided.]”
19                     “[T]his is a skill set that anyone can attain[.]”
20    The “market doesn’t care whether somebody’s old, young, has experience, has
         no experience, we just simply plug yourselves into the equation and the
21                            outcome will be spitted out.”
22                    —OTA Presenter, Darek Zelek, at a MTO Event
23                      a.    No Experience Required
24         64. In addition to the misrepresentations relating to its employees, OTA
25   misrepresents the minimum skills that consumers need to have to learn and apply
26   OTA training. OTA would have consumers believe that anyone can learn to use its
27   purportedly objective rules and easy steps to earn money regardless of background,
28   education, or skill and that following OTA’s steps will automatically result in

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 1   profits:
 2              (a)   In a 30-minute TV infomercial released around March 27, 2019,
 3                    OTA claimed, “[A]nybody could do this from any level. You
 4                    don’t need to have a special type of background.”
 5              (b)   In a radio ad released on February 25, 2019, OTA advertised, “80
 6                    percent of the individuals that come through our doors don’t
 7                    know a stock from a rock.”
 8              (c)   In a 30-minute TV infomercial released around March 27, 2019,
 9                    OTA maintained, “No matter who you are, where you come
10                    from, or how much experience you have, at your free class, you’ll
11                    discover powerful strategies designed to create daily, weekly and
12                    monthly income . . .”
13              (d)   In a 2018 Market Timing Coursebook, OTA emphasized that it
14                    offers “[a]n objective rules-based strategy” composed of “a
15                    simple, sequential set of steps[,]” suggesting anyone could
16                    follow the strategy and reap profits.
17              (e)   At a MTO event on June 28, 2019, OTA presenter, Darek Zelek,
18                    attributed his success to a “system,” saying, “as long as I follow
19                    the system, the outcome will be provided,” claiming “this is a
20                    skill set that anyone can attain,” and the “market doesn’t care
21                    whether somebody’s old, young, has experience, has no
22                    experience, we just simply plug yourselves into the equation and
23                    the outcome will be spitted out.”
24              (f)   At a MTO event on November 20, 2019, OTA presenter, Dale
25                    Sargood, told consumers that “income production is pretty
26                    simple, straightforward, follow the rules, apply the rules, get the
27                    result[,]” suggesting earning income is as basic as following
28                    rules.

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 1              (g)   At a MTO event on March 21, 2019, OTA presenter, Darren
 2                    Kimoto, promised, “There’s not one of you that we cannot help,”
 3                    and “it’s not an if, it’s when you get it.”
 4              (h)   The 2018 MTO coursebook claims OTA training “is designed for
 5                    students of all experience levels”; OTA strategy “has proven to
 6                    successfully work regardless of the type of investor you are or
 7                    the financial markets you trade in”; and that OTA provides “a
 8                    simple step-by-step, rule- based strategy,” that will “consistently
 9                    identify ... quality trading and investing opportunities with a high
10                    degree of accuracy.”
11                    b.     Minimal Amount of Investment
12         65. OTA would also have consumers believe that they do not need to invest
13   a significant amount of money to earn income with OTA training:
14              (a)   At a Preview Event on December 13, 2018, an OTA presenter,
15                    Dawn Landry, asserted consumers “could potentially make
16                    $50,000 of annual income with an account size as low as $5,000.”
17              (b)   At a MTO event on June 29, 2019, OTA presenter, Darek Zalek,
18                    told the story of a purported OTA student who had been laid off
19                    from a job as an engineer and had only $3,000 to invest after
20                    paying for OTA training but a year later was supporting his wife
21                    and two children with income from trading.
22              (c)   At a MTO event on March 22, 2019, OTA presenter, Darren
23                    Kimoto, illustrated a trade where “[y]ou would have made . . .
24                    $1,000 in a day off this trade only using $2,000 in capital to do
25                    it”
26              (d)   In a September 16, 2019 MTO presentation, a slide presented a
27                    hypothetical trade where “Risk of $100” yields “Profit of $3000.”
28              (e)   At a MTO event on November 20, 2019, OTA presenter, Dale

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 1                     Sargood, presented a hypothetical trade where “a 825 dollar
 2                     investment” yields “a 900 dollar profit.”
 3              (f)    At a MTO event on June 29, 2019, Zelek informed consumers
 4                     they can start trading futures with as little as $1,700.
 5              (g)    At a MTO event on November 21, 2019, Sargood claimed
 6                     consumers with only $4,000 can make $200/day trading forex, or
 7                     could earn the same using only $1,650 if trading in futures.
 8              (h)    At a MTO event on November 22, 2019, Sargood contended
 9                     consumers with $10,000 to trade can make $60,000 per year.
10              (i)    The MTO slide deck, which instructors use across both OTA-
11                     owned locations and franchise locations, states the minimum
12                     required to trade Forex or Stocks is $500.
13                     c.       Minimal Amount of Time Spent Trading
14         66. Similarly, OTA would have consumers believe that they do not need to
15   invest a significant time to earn income with OTA training:
16              (a)    In a 30-minute TV infomercial released around March 27, 2019,
17                     OTA advertised all consumers can benefit from OTA, “[w]hether
18                     you only have a few hours a week or a few hours a month . . .”
19              (b)    At a MTO event on March 21, 2019, OTA presenter, Darren
20                     Kimoto, claimed consumers can make profitable trades, such as
21                     “a few thousand dollars” on their commutes to work.
22              (c)    At a MTO event on May 9, 2019, OTA presenter, Rick Wright,
23                     maintained that once you learn the strategy, “it will probably take
24                     about two to three minutes” to review a chart to find a profitable
25                     trade.
26              (d)    At a MTO event on November 20, 2019, an OTA presenter
27                     summarized “so 3,000 dollar investment, right, to make 300
28                     bucks, right, took a couple minutes of time[,]” suggesting that

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 1                      students can repeat the same.
 2               (e)    At a MTO event on May 9, 2019, Wright claimed he spends “a
 3                      total of about 30 minutes . . . looking at the screen to see if there’s
 4                      a trade[,]” suggesting that is all the time a student would need to
 5                      identify a profitable trade.
 6               (f)    At a MTO event, an OTA presenter, Darek Zelek, described a
 7                      trade as taking 32 seconds to set up and students don’t have to
 8                      watch the trade after that.
 9               (g)    Similarly, at a MTO event on March 22, 2019, Kimoto reassured
10                      consumers that they will not be “watching it this whole time,”
11                      not “sitting there babysitting it,” but “off living our life, doing
12                      our thing[.]”
13               (h)    The September 16, 2019 MTO slide deck, which all instructors
14                      use, claims OTA training is a “solution” for family with both
15                      parents working full time that would yield “$100 Average Per
16                      Day[.]”
17         67. OTA represented to consumers, through various examples and
18   testimonials, that they will be able to earn substantial income by purchasing OTA
19   training. OTA knew that its representations were false when it made them because
20   it had no basis to make such representations as it did not monitor its students’ trading
21   performance, OTA’s limited surveys indicated that most of its students did not trade
22   or lost money when they traded, and TradeStation (the online trading platform used
23   by OTA students) confirmed such indications. See, infra, at Fraudulent
24   Concealment. OTA intended consumers to rely on its representations of earnings
25   because it intentionally failed to disclose that it did not track students’ trading
26   performance or the results from its limited surveys or TradeStation reports.
27   Consumers reasonably relied on OTA’s representations of earnings when they
28   purchased OTA training given the specific nature of the examples and seemingly

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 1   honest testimonials. Consumers were harmed because each paid up to tens of
 2   thousands of dollars for OTA training that failed to materialize into the substantial
 3   income that OTA advertised and expanded on at the sales events. Consumers’
 4   reliance on OTA’s representations of substantial earnings were a substantial factor
 5   in causing them to lose money.
 6               6.     Fraudulent Concealment
 7         68. In addition to OTA’s deceptive advertising campaign and misleading
 8   sales events, OTA fraudulently concealed certain information from consumers. This
 9   information was material because it would have put consumers on notice of OTA’s
10   false representations regarding its strategies and success stories.
11                      a.     OTA Did Not Monitor Students’ Trading
                               Performance
12

13         69. First, OTA fraudulently concealed the fact that it did not monitor the
14   trading performance of its students. Additionally, OTA lacked data that would
15   permit it to predict the trading performance of its students. OTA’s Vice President
16   of Admissions, Keeley Hubbard, testified to these facts:
17               (a)    “[I]t’s impossible for us to get to exactly how well is every one
18                      of our students doing . . . [W]e don’t have that data, and there’s
19                      no way for us to collect it.”
20               (b)    “There wasn’t any formal way of tracking that whenever I was
21                      with the company, other than initiatives or efforts to get
22                      testimonials from students.”
23               (c)    “Q. . . . [W]ere there any efforts at tracking on the long-term how
24                      students were performing in the markets? A: Not that I’m aware
25                      of when I was there. From my understanding, there was a survey
26                      conducted after I left. I believe it was in June of [2018].”
27   //
28   //

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                        b.     OTA’s Limited Surveys Suggest Most Students Did
 1                             Not Earn Income Through Trading
 2
           70. Second, OTA fraudulently concealed the fact that its limited surveys
 3
     indicated its students were not earning the income that it mass advertised. The first
 4
     OTA survey about students’ trading performance was conducted in mid-2018 and
 5
     asked, “As a result of your experience at Online Trading Academy, would you say
 6
     you’re ‘making money’ through trading and investing?” The results were 66% of
 7
     respondents stated that they were making no money and 31% were making “a little
 8
     money[.]” Among members of OTA’s Mastermind Community, who obtain the
 9
     most extensive training and support, 58% of respondents said they were making no
10
     money.
11
           71. Illustrative examples of students’ comments provided in response to the
12
     first survey are as follows:
13
                 (a)    “I have not been successful yet at all. I have lost a considerable
14
                        amount of money, I cannot pay back all of my OTA loans that
15
                        have come due[.]”
16
                 (b)     “There has been absolutely NO SUCCESS. This has been the
17
                        WORST financial investment I have ever made. I have invested
18
                        close to $100,000.00 in OTA (Mastermind, Courses, 3 weeks of
19
                        travel, 3 weeks away from my practice, and 3 weeks of hiring a
20
                        substitute Dr. to see my patients). The customer service is POOR.
21
                        The Student Care Reps in KC are too busy to take my questions,
22
                        and they have even skipped out on planned meetings. When I try
23
                        to call with questions, they complain about being too busy. I have
24
                        tons of questions, but nobody to turn to. I have yet to take a live
25
                        trade.”
26
                 (c)    “Lack of support at all from center. Student support is bad and
27
                        not knowledge [sic].”
28

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 1         72. The second OTA survey conducted shortly after the first survey had
 2   similar findings: A third of the respondents were not trading at all, and of those who
 3   did trade, less than 4% claimed they were “making lots of money.” Of respondents
 4   who traded, over 23% stated that they were losing money and another 22% were
 5   making no money.
 6                      c.    TradeStation Reports Confirm Most Students Did
                              Not Earn Income Through Trading
 7

 8         73. Third, OTA fraudulently concealed that TradeStation reports confirmed
 9   OTA’s training and strategy failed to work as advertised. TradeStation, an online
10   brokerage platform that OTA recommends its students to use to deploy OTA’s
11   strategy and execute trades, has records of all accounts of OTA students. These
12   records show that roughly half of the students never make a trade, and of those who
13   trade, 74.9% lose money. Indeed, less than 5% of those who trade made over
14   $10,000.
15         74. All students who traded likely used TradeStation instead of another
16   online brokerage platform given the August 2013 contract between OTA and
17   TradeStation, whereby TradeStation provided its platform, accounts, and data to
18   OTA for use in classrooms, and OTA agreed not to use any other platform but
19   TradeStation in classes on equities, options, or futures. TradeStation’s trading data
20   therefore strongly indicates that most OTA students who trade do not make any
21   money, and many lose money on top of the thousands of dollars they pay OTA.
22                      d.    Samuel Seiden’s Admissions
23         75. Defendant Samuel Seiden, the creator and most visible proponent of
24   OTA’s proprietary trading strategy, whose benefits and income generation potential
25   are the main reason offered for consumers to purchase OTA training, admitted that
26   OTA was “fraudulent business” when he briefly left the company in 2018.
27         76. OTA’s advertisements, including infomercials and advertisements,
28   have prominently featured Seiden. OTA holds him out to consumers at seminars as

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 1   the “creat[or of] the patent” and “an impeccable master” of the strategy. Seiden is
 2   OTA’s Chief Trading Strategist and has previously served in a number of other
 3   executive roles at OTA, in at least some of them reporting directly to Defendant
 4   Eyal Shahar.
 5         77. When Seiden briefly left OTA, a November 20, 2018 email to Keeley
 6   Hubbard, OTA’s Vice President of Admissions, revealed that Seiden had a dispute
 7   about pay, a “decline in student success,” “Unethical & Deceptive Sales
 8   Messaging,” and hearing from students who were “struggling to pay monthly
 9   finance payment[s]”. At the time, Seiden claimed to have “overwhelming proof of
10   [OTA’s] fraud” and noted, “I have seen 2 other companies in our industry be shut
11   down by regulators within 24 hours for far less than what Eyal [Shahar] is allowing
12   to happen through OTA. OTA has employees who worked at those firms.” Seiden
13   indicated that he received emails “every day” from consumers “that are losing
14   money because of OTA.” OTA transferred $500,000 to Seiden in December 2018.
15   Shortly after that, Seiden returned to work at OTA. Through this email, Seiden, an
16   OTA officer, admitted that OTA operates a fraudulent investment scheme to scam
17   students.
18                      e.    Gag Provision in Refund Agreements
19         78. To further conceal its fraudulent scheme, OTA endeavors to silence
20   dissatisfied customers. Consumers who request refunds from OTA are met with
21   with significant resistance. OTA will sometimes agree to issue a refund if a
22   consumer threatens negative publicity or threatens to file a complaint with the Better
23   Business Bureau or a law enforcement agency or lawsuit. OTA often conditions
24   refunds on a standardized agreement that includes a broad non-disparagement
25   provision, barring any negative statements or reviews about OTA or its employees,
26   and even barring reports to law enforcement agencies. These form contracts are
27   non-negotiable and have led consumers to believe they cannot report OTA’s
28   misconduct or coordinate with law enforcement agencies investigating OTA.

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 1         79. In sum, OTA has fraudulently concealed from consumers that (1) it
 2   does not monitor students’ trading performance, (2) its two surveys indicate that,
 3   after receiving OTA training, most of its students do not trade or do not earn money
 4   trading, (3) the online trading platform that its students use confirm the surveys’
 5   results, (4) one of its own senior executives has called the business fraudulent, and
 6   (5) it only agrees to provide refunds to dissatisfied consumers who agree to not
 7   disparage it.
 8         80. OTA was aware of these facts through the normal course of its business.
 9   OTA intentionally failed to disclose these facts that were known only to it because
10   these facts involved its own business practices, executives, and communications.
11   Consumers could not have discovered these facts and did not know these facts
12   because they are not privy to OTA’s business practices and information provided to
13   OTA’s executives. Nothing reflects that students should have known OTA’s
14   earning claims were tenuous and unsupported. OTA intended to deceive consumers
15   by withholding these facts that would have better informed them about the success
16   (or, in reality, failures) of OTA training. Had OTA disclosed these omitted facts,
17   consumers likely would not have purchased OTA training. Consumers were harmed
18   because each paid up to tens of thousands of dollars for training that failed to
19   generate income and, in many instances, resulted in loss income. OTA’s
20   concealment of the aforementioned facts was a substantial factor in causing
21   consumers’ harm.
22        E.     Estimated Consumer Losses
23         81. Defendants have made in excess of $370 million from January 2014 to
24   May 4, 2019. Over 90,000 consumers have paid money to OTA, with over 11,000
25   consumers paying more than $10,000, and some paying over $50,000. OTA’s own
26   customer surveys and customers’ trading data confirm that most OTA customers do
27   not generate the substantial earnings that OTA falsely advertises. Indeed, most
28   make little or nothing at all, and a large number lose substantial amounts of money

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 1   in addition to the money they spent on OTA programs, courses, and/or membership.
 2   VII. ENROLLMENT AGREEMENT
 3        A.     Take It or Leave It Agreement with No Negotiations
 4         82. Like the standardized refund agreement that OTA used to inhibit
 5   customers’ ability to post negative reviews about Defendants and their services
 6   according to a federal court’s Preliminary Injunction (see supra), OTA used a
 7   standardized enrollment agreement to severely limit customers’ rights vis-à-vis
 8   OTA. OTA purportedly asked consumers who decided to purchase its training to
 9   enter into this form Enrollment Agreement. OTA provided the Enrollment
10   Agreement to consumers on a take-it-or-leave-it basis, and consumers could not
11   engage in meaningful negotiations of the Agreement’s terms because consumers are
12   financially insecure individuals who were lured by OTA’s false representations of
13   getting rich quick. The Agreement is oppressive because there is no negotiation of
14   contract terms between OTA and students.
15         83. The first page of the Enrollment Agreement contains the student’s
16   contact information, the track and programs chosen, the tuition and payment details,
17   and the education counselor’s name and comments. The second and third pages
18   contain the “Statement of Terms” in densely worded, single-spaced text.
19        B.     Disclaimers in Agreement Contradict Representations in Real
                 Life
20

21         84. In absolute contrast to the representations made by Defendants in their
22   advertising campaign and at their sales events, the Statement of Terms contains
23   various disclaimers, such as:
24               (a)   “Online Trading Academy, its Education Counselors and
25                     Instructors are not Registered Broker/Dealers, Certified
26                     Financial Planners or Registered Investment Advisors and will
27                     not provide me with any advice as to the investment or trading
28                     choices or the management of my finances.”;

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 1               (b)    “Moreover, I recognize and acknowledge that my performance
 2                      depends upon my individual skills, time availability and
 3                      dedication in the training program and use of the Community as
 4                      well as other factors.”; and
 5               (c)    “I acknowledge that the Online Trading Academy training
 6                      program and use of its products and services should not be
 7                      construed as a recommendation or an offer to buy or sell any
 8                      security or the suitability of any investment strategy.”
 9         85. Not only are the disclaimers buried in the Statement of Terms, they
10   directly contradict Defendants’ extensive representations that OTA training would
11   enable students to earn substantial income through online trading and to replicate
12   the success of OTA’s instructors— regardless of students’ experience, skill, and
13   amount of financial or time investment. These disclaimers fail to cure the
14   impression of wealth created by Defendants’ false misrepresentations made in the
15   mass advertisement campaign and expanded upon at in-person sales events like the
16   Preview Event and MTO event. The disclaimers are a surprise as they are at odds
17   with Defendants’ extensive and representations to students.
18        C.     Arbitration Provision
19         86. The third page of the Enrollment Agreement contains a purported
20   arbitration and class action waiver provision. This provision is invalid and
21   unenforceable for several reasons.
22         87. First, like the refund agreement discussed in the Preliminary Injunction
23   (see supra), OTA used this standardized arbitration and class waiver provision to
24   dissuade customers from seeking legal recourse against OTA and to inhibit
25   customers’ ability to do so.
26         88. Second, like the disclaimers described above, OTA buried the provision
27   in the Statement of Terms. It does not appear on the same page as material
28   information like the student’s contact information, the track and programs chosen,

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 1   and the tuition and payment details, all of which are listed on the first page of the
 2   Enrollment Agreement.
 3         89. Third, Defendants Shahar and Seiden are not parties to the Enrollment
 4   Agreement. The arbitration and class waiver provision does not cover their
 5   respective independent comments made in their respective individual capacities to
 6   consumers and students.
 7         90. Fourth, the provision purportedly “outlines what is expected of both of
 8   us” (emphasis added). Despite this mutual obligation, in some Enrollment
 9   Agreements, there is no signature line for the student or OTA after the Statement of
10   Terms (only a signature line for the student in the middle of the first page, which
11   does not set forth the Statement of Terms at all). In other Enrollment Agreements,
12   there is only a signature line for the student at the end of the Terms of Statement on
13   the third page—there is no signature line for OTA despite that the provision
14   “outlines what is expected of both of us[.]” The provision is therefore a surprise
15   because, in some instances, it does not require students and OTA to read and agree
16   to it and, in other instances, when it appears at the end of a prolix printed form
17   drafted by OTA, it purports to bind both parties but only has a signature line for the
18   student.
19         91. Fifth, the arbitration and class waiver provision covers “all dispute,
20   claim question or differences” between students and OTA (emphasis added). The
21   overbroad arbitration provision states, “I am giving up my right to litigation (or
22   participate in as a party or class member) all disputes in court before a judge or
23   jury.” This language is incredibly broad so as to be substantively unconscionable.
24         92. Sixth, the OTA enrollment process is highly questionable. Specifically,
25   education counselors exert significant pressure on students to enroll in the MTO
26   event at the end of the Preview Event and then to enroll in OTA packages before
27   the end of the MTO event:
28         93. Education counselors first contacted students before the MTO event and

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 1   then have multiple one-on-one meetings with students during the three-day MTO
 2   event. Education counselors have the unfair advantage of access to students’
 3   questionnaire responses disclosing their assets, including real estate and retirement
 4   accounts, which they used to tailor their sales pitch. During the enrollment process
 5   at MTO events, education counselors have full knowledge of students’ economic
 6   vulnerabilities. Education counselors are also able to take advantage of students’
 7   vulnerable state of mind—they were aware students were upset, frustrated, worried,
 8   nervous, and anxious when they come to the MTO lured by the promise of
 9   substantial income (see supra).
10         94. In the one-on-one meetings, educational counselors attempt to close the
11   sale of different packages of courses depending on students’ assets. For example,
12   education counselors pitch wealthier students the most expensive offering,
13   “Mastermind,” at $50,000 and pitch other students different packages with prices
14   ranging from thousands to tens of thousands of dollars. Education counselors were
15   aware of students’ financial pressure points as a result of seeing their questionnaire
16   responses beforehand.
17         95. Education counselors exert economic duress on students by informing
18   them that the prices offered are heavily discounted and that the discounts will not
19   be available to those who wait until after the MTO to enroll. Students who still
20   hesitate or balk may be offered “special” discounts to induce the student sign an
21   Enrollment Agreement before leaving the MTO event. Students feel pressure and a
22   sense of urgency to enroll in OTA training at or before the end of the MTO given
23   OTA’s extreme emphasis on the benefits of signing immediately and the
24   consequences of delay.
25         96. Given the education counselors’ insistent demands that students quickly
26   enter into the Enrollment Agreements, students had little or no opportunity to review
27   the Statement of Terms, were not invited to ask questions about them, had little to
28   no familiarity with what rights they were giving up with they signed (if they signed),

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 1   and were not informed that signing the arbitration and class waiver provision was
 2   optional or voluntary. OTA created a coercive environment for Plaintiffs and the
 3   Class to sign the Enrollment Agreements.
 4         97. The Enrollment Agreement is therefore unenforceable between
 5   consumers and OTA and, in the alternative, between consumers and Defendants
 6   Shahar and Seiden.
 7   VIII. STATUTE OF LIMITATIONS
 8        A.     The Statute of Limitations Does Not Bar Plaintiffs’ Claims
 9         98. The statute of limitations did not begin to run because Plaintiffs did not
10   and could not discover their claims. Plaintiffs and the Class had no knowledge of
11   the fraud alleged herein, or of facts sufficient to place them on inquiry notice of the
12   claims set forth herein, until (at the earliest) February 12, 2020, the date the FTC
13   filed a complaint with extensive allegations against Defendants for a permanent
14   injunction and other equitable relief pursuant to Sections 13(b) and 19 of the Federal
15   Trade Commission Act, 15 U.S.C. §§ 53(b) and 57b, and the Consumer Review
16   Fairness Act of 2016, 15 U.S.C. § 45b.
17         99. Plaintiffs and the Class are consumers that purchased programs,
18   courses, and/or membership from OTA. Although they had direct contact and/or
19   interaction with OTA, they had no means from which they could have discovered
20   Defendants’ deceptive business activities described in this Complaint before
21   February 12, 2020. Indeed, Defendants represented to them that purchasers of OTA
22   programs, courses, and/or membership were likely to earn substantial income by
23   applying Defendants’ patented trading strategy.
24         100. No information in the public domain was available to Plaintiffs and
25   members of the Class concerning the conduct alleged herein prior to February 12,
26   2020, the date the FTC filed a complaint against Defendants. Plaintiffs and the
27   members of the Class had no means of obtaining any facts or information
28   concerning any aspect of Defendants’ business activities given that Defendants are

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 1   private companies not required to disclose financial information to the public.
 2         101. For these reasons, the statute of limitations as to Plaintiffs and the Class’
 3   claims did not begin to run until, at the earliest, February 12, 2020.
 4        B.     Fraudulent Concealment Tolled the Statute of Limitations
 5         102. In the alternative, application of the doctrine of fraudulent concealment
 6   tolled the statute of limitations on the claims asserted herein by Plaintiffs and the
 7   Class. Plaintiffs and the Class did not discover, and could not discover through the
 8   exercise of reasonable diligence, Defendants’ deceptive business activities until
 9   February 12, 2020, the date the FTC filed a complaint against Defendants.
10         103. Before that time, Plaintiffs and the Class were unaware of Defendants’
11   deceptive conduct and did not know before then that they were paying for useless
12   programs, courses, and/or membership throughout the United States during the
13   Class Period (defined infra). No information, actual or constructive, was ever made
14   available to Plaintiffs and the Class that put Plaintiffs on notice that they were being
15   injured by Defendants’ deceptive conduct.
16         104. The affirmative acts of Defendants alleged herein were wrongfully
17   concealed and carried out in a manner that precluded detection.
18         105. Specifically, OTA made various misrepresentations to consumers,
19   concealing the deceptiveness of its business practices. It represented to consumers
20   that it had a patented strategy to time the market that anyone can apply to generate
21   substantial profits through trading in stocks, foreign currencies, commodities, and
22   other assets. Its instructors marketed OTA programs, courses, and/or membership
23   to consumers in live seminars and held themselves out as converts and successful
24   traders. Additionally, OTA made these representations despite not tracking the
25   trading results of its students, despite its limited surveys revealing students were not
26   making the amount of income OTA advertised, and despite trading data showed that
27   most students do not make any money and lose money on top of the money they
28   pay OTA.

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 1          106. Furthermore, to conceal and preserve its scheme, OTA sought to silence
 2   dissatisfied consumers who sought a refund, requiring them to sign contracts barring
 3   them from posting negative reviews about OTA and from reporting OTA’s
 4   wrongdoing—even to law enforcement.
 5          107. Defendants concealed the deceptiveness of their business practices.
 6   OTA directed its presenters to use testimonials to create the impression that
 7   consumers can generate trading profits. OTA disseminated a “MTO Master
 8   Document” to MTO presenters that directed them to use testimonials, stating in
 9   bold, “Pinnacle on the testimonials for the wow factor,” and noting “Key Loops”
10   for this section of the presentation, including “Trading can replace or supplement
11   my job” and “Trading can provide for retirement and wealth objectives.”
12   Furthermore, OTA stated that its programs, courses, and membership “is designed
13   for students of all experience levels” and that it provided “a simple step-by-step,
14   rule- based strategy” that will “consistently identify . . . quality trading and investing
15   opportunities with a high degree of accuracy.” Darren Kimoto informed students at
16   a MTO event on March 21, 2019 that earning money with OTA’s strategy is as easy
17   as baking cookies: just follow the recipe.
18          108. Accordingly, a reasonable person under the circumstances would not
19   have been alerted to begin to investigate the legitimacy of Defendants’ business
20   practices before February 12, 2020 at the earliest.
21          109. Plaintiffs and the Class could not have discovered the alleged deceptive
22   business practices at an earlier date by the exercise of reasonable diligence because
23   of the deceptive practices employed by Defendants to fraudulently conceal that
24   OTA’s strategy did not work. OTA created the impression that consumers could use
25   its strategy to earn money even if they did not have much time to devote to it or
26   only had a small amount of money to invest at the start. OTA represented that the
27   strategy “stack[s] odds in your favor” and that profits are a “mathematical
28   certainty.” OTA’s presenters also hold themselves out as living proof that OTA’s

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 1   products and strategy work, stating that they became successful traders and amassed
 2   substantial wealth using OTA’s strategy.
 3         110. Because OTA affirmatively concealed the nature of its products and
 4   outcome of its strategy, Plaintiffs and the Class had no knowledge of its deceptive
 5   business practices, or of any facts or information that would have caused a
 6   reasonably diligent person to investigate whether OTA was engaged in deceptive
 7   business practices, until, at the earliest, February 12, 2020, the date the FTC filed a
 8   complaint against Defendants.
 9         111. For these reasons, the statute of limitations applicable to Plaintiffs and
10   the Class’ claims was tolled and did not begin to run until February 12, 2020.
11   IX. CLASS ALLEGATIONS
12         112. Plaintiffs bring this class action on behalf of themselves individually
13   and all others similarly situated, pursuant to Federal Rules of Civil Procedure
14   23(b)(2) and (b)(3).
15         113. Nationwide Class: The proposed Class consists of all persons who
16   purchased programs or courses of instruction from OTA in the United States from
17   January 1, 2012 through such time as Defendants’ unlawful conduct ceased.
18   Excluded from the Class are Defendants, their affiliates, employees, officers, and
19   directors, persons or entities that distribute or sell OTA products or programs, the
20   judge(s) assigned to this case, and the attorneys of record in this case. Plaintiffs
21   reserve the right to amend the Class definition if discovery and further investigation
22   reveal that the Class should be expanded or otherwise modified.
23         114. This action is properly brought as a class action under Federal Rule of
24   Civil Procedure 23(a) for the following reasons:
25               (a)    Numerosity (Fed. R. Civ. P. 23(a)(1)): The proposed Class is
26                      so numerous and geographically dispersed throughout the United
27                      States that the joinder of all Class Members is impracticable.
28                      While Plaintiffs do not know the exact number and identity of all

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 1                    Class Members, Plaintiffs are informed and believe that there are
 2                    thousands, if not tens or even hundreds of thousands of Class
 3                    Members. The precise number of Class Members can be
 4                    ascertained through discovery;
 5              (b)   Commonality and Predominance (Fed. R. Civ. P. 23(a)(2)
 6                    and 23(b)(3)): There are questions of law and fact common to
 7                    the proposed Class which predominate over any questions that
 8                    may affect particular Class Members. Such common questions of
 9                    law and fact include, but are not limited to:
10                    i.     Whether Defendants’ conduct was unlawful, unfair or
11                           fraudulent;
12                    ii.    Whether Defendants’ advertising is likely to deceive the
13                           public;
14                    iii.   Whether Defendants’ conduct was false, misleading, or
15                           likely to deceive;
16                    iv.    Whether Defendants breached their express warranty;
17                    v.     Whether Defendants unjustly received funds from
18                           Plaintiffs and the Class;
19                    vi.    Whether Defendants violated California’s Consumers
20                           Legal Remedies Act, Cal. Civ. Code § 1750;
21                    vii.   Whether       Defendants    violated     California’s    False
22                           Advertising Law, Cal. Civ. Code § 17500;
23                    viii. Whether        Defendants    violated     California’s   Unfair
24                           Competition Law, Cal. Bus. & Prof. Code § 17200;
25                    ix.    Whether Plaintiffs and the Class have been harmed and the
26                           proper measure of relief;
27                    x.     Whether Plaintiffs and the Class are entitled to an award
28                           of punitive damages, attorneys’ fees and expenses against

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 1                           Defendants; and
 2                     xi.   Whether, as a result of Defendants’ misconduct, Plaintiffs
 3                           and Class Members are entitled to equitable relief, and if
 4                           so, the nature of such relief.
 5              (c)    Typicality (Fed. R. Civ. P. 23(a)(3)): Plaintiffs’ claims are
 6                     typical of the claims of the members of the proposed Class.
 7                     Plaintiffs and the Class have been injured by the same wrongful
 8                     practices of Defendants. Plaintiffs’ claims arise from the same
 9                     practices and conduct that give rise to the claims of the Class and
10                     are based on the same legal theories;
11              (d)    Adequacy of Representation (Fed. R. Civ. P. 23(a)(4)):
12                     Plaintiffs will fairly and adequately protect the interests of the
13                     Class in that they have no interests antagonistic to those of the
14                     other members of the Class, and Plaintiffs have retained attorneys
15                     experienced in consumer class actions and complex litigation as
16                     counsel;
17         115. This action is properly brought as a class action under Federal Rule of
18   Civil Procedure 23(b) for the following reasons:
19              (a)    Class Action Status (Fed. R. Civ. P. 23(b)(1)): Class action
20                     status in this action is warranted under Rule 23(b)(1)(A) because
21                     prosecution of separate actions by the members of the Class
22                     would create a risk of establishing incompatible standards of
23                     conduct for Defendants. Class action status is also warranted
24                     under Rule 23(b)(1)(B) because prosecution of separate actions
25                     by the members of the Class would create a risk of adjudications
26                     with respect to individual members of the Class that, as a
27                     practical matter, would be dispositive of the interests of other
28                     members not parties to this action, or that would substantially

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 1                      impair or impede their ability to protect their interests.
 2               (b)    Declaratory and Injunctive Relief (Fed. R. C. P. 23(b)(2)):
 3                      Certification under Rule 23(b)(2) is warranted because
 4                      Defendants acted or refused to act on grounds generally
 5                      applicable to the Class, thereby making appropriate final
 6                      injunctive, declaratory, or other appropriate equitable relief with
 7                      respect to the Class as a whole.
 8               (c)    Superiority (Fed. R. Civ. P. 23(b)(3)): Certification under Rule
 9                      23(b)(3) is appropriate because questions of law or fact common
10                      to members of the Class predominate over any questions
11                      affecting only individual members, and class action treatment is
12                      superior to the other available methods for the fair and efficient
13                      adjudication of this controversy.
14               (d)    The proposed Class is ascertainable and there is a well-defined
15                      community of interest in the questions of law or fact alleged
16                      herein since the rights of each proposed Class Member were
17                      infringed or violated in the same fashion;
18         116. A class action is superior to other available methods for the fair and
19   efficient adjudication of this controversy for at least the following reasons:
20               (a)    Given the size of individual Class Member’s claims and the
21                      expense of litigating those claims, few, if any, Class Members
22                      could afford to or would seek legal redress individually for the
23                      wrongs Defendants committed against them and absent Class
24                      Members have no substantial interest in individually controlling
25                      the prosecution of individual actions;
26               (b)    This action will promote an orderly and expeditious
27                      administration and adjudication of the proposed Class claims,
28                      economies of time, effort and resources will be fostered and

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 1                       uniformity of decisions will be insured;
 2                (c)    Without a class action, Class Members will continue to suffer
 3                       damages, and Defendant’s violations of law will proceed without
 4                       remedy while Defendants continue to reap and retain the
 5                       substantial proceeds of their wrongful conduct; and
 6                (d)    Plaintiffs know of no difficulty that will be encountered in the
 7                       management of this litigation which would preclude its
 8                       maintenance as a class action.
 9          117. Defendants have, or have access to, address information for the Class
10   Members, which may be used for the purpose of providing notice of the pendency
11   of this class action.
12          118. Plaintiffs seek damages and equitable relief on behalf of the Class on
13   grounds generally applicable to the entire proposed Class.
14          119. Application of California Law: California law should be applied to
15   the nationwide Class because Defendants are located in California and have violated
16   various California consumer protection laws. Indeed, application of California law
17   is appropriate because Defendants’ fraud emanates from California.
18          120. Further, California law should apply to Plaintiffs and the Class’ claims
19   because all Defendants have their principal place of business in California;
20   Defendants have conducted and maintained operations in California for several
21   decades; Defendants developed their misrepresentations at OTA’s corporate
22   headquarters in Irvine, California; Defendants’ misrepresentations were
23   promulgated at various sales events throughout California, including at their
24   headquarters; and the technical assistance for online courses and activities are
25   available by calling a phone number with an Orange County area code. These facts
26   present a sufficient nexus between California and the misrepresentations which
27   form the basis of this Complaint. Furthermore, California has an interest in not only
28   protecting its own consumers but in punishing businesses like Defendants that

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 1   operate within its borders and providing remedies to persons from other states for
 2   the torts of its businesses.
 3   X.    CAUSES OF ACTION AND CLAIMS FOR RELIEF
 4                              FIRST CAUSE OF ACTION
                               (Fraud Against All Defendants)
 5

 6          121. Plaintiffs re-allege and incorporate by reference the allegations
 7   contained in the entirety of this Complaint as if fully set forth herein.
 8          122. As alleged herein, Defendants intentionally and falsely represented to
 9   Plaintiffs and Class Members that they would earn substantial income by
10   purchasing OTA training; that OTA’s various strategies would enable them to earn
11   substantial income; that OTA instructors and education counselors were traders who
12   could truthfully and accurately provide information regarding trading and
13   counselors who could customize an education plan for them; that OTA instructors
14   were successful traders; and that OTA’s simulated trades were live trades even
15   though they were not.
16          123. Defendants knew that their representations were false when they made
17   them because OTA did not monitor its students’ trading performance, OTA’s
18   limited surveys indicated that most of its students did not trade or lost money when
19   they traded, and TradeStation confirmed such indications; OTA instructors and
20   education counselors were merely salespeople whose objective was to enroll
21   students in tracks and courses that cost thousands of dollars depending on their
22   financial circumstances; OTA instructors were not successful traders and many of
23   them had loss money or only broke even during a long-running bull market; and
24   OTA instructors hand-picked easy and profitable trades to simulate before
25   performing them.
26          124. Defendants intended consumers to rely on their representations of
27   earnings because they intentionally failed to disclose that OTA did not track
28   students’ trading performance or the results from its limited surveys or TradeStation

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 1   reports; OTA intentionally provided its salespeople deceptive titles; OTA
 2   instructors and education counselors would point to instructors’ success when
 3   students asked about how much they would make with OTA training; and OTA
 4   performed simulated, easy, profitable trade but held them out to be live trades in the
 5   financial market.
 6         125. Plaintiffs   and      the   Class   reasonably   relied   on   Defendants’
 7   representations of earnings when they purchased OTA training given the specific
 8   nature of OTA’s examples and seemingly honest testimonials; OTA’s frequent
 9   references to its patent, that the rewards outweighing the risks, and that the Daily
10   Grid identifying all buy and sell opportunities for students; OTA instructors and
11   education counselors’ representations due to their purported titles; and OTA’s
12   simulated trades because consumers witnessed what they thought were live,
13   successful trades.
14         126. Plaintiffs and the Class were harmed because each paid up to tens of
15   thousands of dollars for OTA training that failed to materialize into the substantial
16   income that Defendants advertised and expanded on at the sales events; for OTA
17   strategies that failed to work; and for OTA training that did not adequately prepare
18   consumers to trade profitably.
19         127. Plaintiffs and the Class’ reliance on OTA’s myriad and sundry
20   representations was a substantial factor in causing their harm. Each OTA student
21   paid up to tens of thousands of dollars for OTA training.
22         128. Furthermore, Defendants fraudulently concealed from Plaintiffs and the
23   Class that OTA did not monitor students’ trading performance; that OTA’s two
24   surveys indicate that, after receiving OTA training, most of its students do not trade
25   or do not earn money trading; that the online trading platform that OTA students
26   use confirm the surveys’ results; that one of OTA’s own senior executives has called
27   the business fraudulent; and that OTA has only agreed to provide refunds to
28   dissatisfied consumers who agree to not disparage it.

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 1          129. Defendants were aware of these facts through the normal course of their
 2   business. Defendants intentionally failed to disclose these facts that were known
 3   only to them because these facts involved their own business practices, executives,
 4   and communications. Plaintiffs and the Class could not have discovered these facts
 5   and did not know these facts because they are not privy to OTA’s business practices,
 6   information provided to OTA’s executives, and communications between OTA and
 7   certain students. Nothing reflects that students should have known OTA’s earning
 8   claims were tenuous and unsupported. OTA intended to deceive Plaintiffs and the
 9   Class by withholding these facts that would have better informed about the success
10   of OTA training (or lack thereof). Had OTA disclosed these omitted facts, Plaintiffs
11   and the Class likely would not have purchased OTA training. Plaintiffs and the
12   Class were harmed because each paid up to tens of thousands of dollars for training
13   that failed to generate income and, in many instances, resulted in loss income.
14   OTA’s concealment of the aforementioned facts was a substantial factor in causing
15   Plaintiffs and the Class harm.
16          130. As a proximate result of Defendants’ misrepresentations and fraudulent
17   concealment, Plaintiffs and Class Members were damaged in an amount to be
18   proven at trial.
19                           SECOND CAUSE OF ACTION
                 (Intentional Misrepresentation Against All Defendants)
20

21          131. Plaintiffs re-allege and incorporate by reference the allegations
22   contained in the entirety of this Complaint as if fully set forth herein.
23          132. As alleged herein, Defendants intentionally and falsely represented to
24   Plaintiffs and Class Members that they would to earn substantial income by
25   purchasing OTA training; that OTA’s various strategies would enable them to earn
26   substantial income; that OTA instructors and education counselors were traders who
27   could truthfully and accurately provide information regarding trading and
28   counselors who could customize an education plan for them; that OTA instructors

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 1   were successful traders; and that OTA’s simulated trades were live trades even
 2   though they were not.
 3         133. Defendants knew that their representations were false when they made
 4   them because OTA did not monitor its students’ trading performance, OTA’s
 5   limited surveys indicated that most of its students did not trade or lost money when
 6   they traded, and TradeStation confirmed such indications; OTA instructors and
 7   education counselors were merely salespeople whose objective was to enroll
 8   students in tracks and courses that cost thousands of dollars depending on their
 9   financial circumstances; OTA instructors were not successful traders and many of
10   them had loss money or only broke even during a long-running bull market; and
11   OTA instructors hand-picked easy and profitable trades to simulate before
12   performing them.
13         134. Defendants intended consumers to rely on their representations of
14   earnings because they intentionally failed to disclose that OTA did not track
15   students’ trading performance or the results from its limited surveys or TradeStation
16   reports; OTA intentionally gave its salespeople deceptive titles; OTA’s instructors
17   and education counselors would point to instructors’ success when students asked
18   about how much they would make with OTA training; and OTA performed
19   simulated, easy, profitable trade but held them out to be live trades in the financial
20   market.
21         135. Plaintiffs and the Class reasonably relied on OTA’s representations of
22   earnings when they purchased OTA training given the specific nature of OTA’s
23   examples and seemingly honest testimonials; OTA’s frequent references to its
24   patent, that the rewards outweighing the risks, and that the Daily Grid identifying
25   all buy and sell opportunities for Plaintiffs and the Class; OTA’s instructors and
26   education counselors’ representations due to their purported titles; and on OTA’s
27   simulated trades because they witnessed what they thought were live, successful
28   trades.

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 1         136. Plaintiffs and the Class were harmed because each paid up to tens of
 2   thousands of dollars for OTA training that failed to materialize into the substantial
 3   income that OTA advertised and expanded on at the sales events; for OTA strategies
 4   that failed to work; and for OTA training that did not adequately prepare them to
 5   trade profitably.
 6         137. Plaintiffs and the Class’ reliance on OTA’s myriad and sundry
 7   representations was a substantial factor in causing their harm. Each OTA student
 8   paid up to tens of thousands of dollars for OTA training.
 9         138. As a proximate result of Defendants’ intentional misrepresentations,
10   Plaintiffs and Class Members were damaged in an amount to be proven at trial.
11                           THIRD CAUSE OF ACTION
                          (Concealment Against All Defendants)
12

13         139. Plaintiffs re-allege and incorporate by reference the allegations
14   contained in the entirety of this Complaint as if fully set forth herein.
15         140. Defendants fraudulently concealed from consumers that OTA does not
16   monitor students’ trading performance; that its two surveys indicate that, after
17   receiving OTA training, most of its students do not trade or do not earn money
18   trading; that the online trading platform that its students use confirm the surveys’
19   results; that one of its own senior executives has called the business fraudulent; and
20   that it has only agreed to provide refunds to dissatisfied consumers who agree to not
21   disparage it.
22         141. Defendants were aware of these facts through the normal course of its
23   business. Defendants intentionally failed to disclose these facts that were known
24   only to them because these facts involved their own business practices, executives,
25   and communications.
26         142. Plaintiffs and the Class could not have discovered these facts and did
27   not know these facts because they are not privy to OTA’s business practices,
28   information provided to OTA’s executives, and communications between OTA and

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 1   certain students. Nothing reflects that Plaintiffs and the Class should have known
 2   OTA’s earning claims were tenuous and unsupported.
 3         143. OTA intended to deceive Plaintiffs and the Class by withholding these
 4   facts that would have better informed about the success of OTA training (or lack
 5   thereof). Had OTA disclosed these omitted facts, Plaintiffs and the Class likely
 6   would not have purchased OTA training. Plaintiffs and the Class were harmed
 7   because each paid up to tens of thousands of dollars for training that failed to
 8   generate income and, in many instances, resulted in loss income. OTA’s
 9   concealment of the aforementioned facts was a substantial factor in causing
10   Plaintiffs and the Class’ harm.
11         144. As a proximate result of Defendants’ fraudulent concealment, Plaintiffs
12   and Class Members were damaged in an amount to be proven at trial.
13                            FOURTH CAUSE OF ACTION
                (Breach of Express Warranty Against Corporate Defendants)
14

15         145. Plaintiffs re-allege and incorporate by reference the allegations
16   contained in the entirety of this Complaint as if fully set forth herein.
17         146. Defendants made numerous representations and promises to Plaintiffs
18   and Class Members that they would be able to earn substantial income through OTA
19   training.
20         147. For example, Defendants’ specific examples, student and instructor
21   testimonials, and simulated trades gave students the impression that they could
22   easily and quickly learn to make money online trading and replicate their
23   instructors’ purported successes.
24         148. OTA training did not enable Plaintiffs and Class Members to earn
25   substantial income and, in some cases, caused them to lose substantial money in
26   trading.
27         149. Defendants knew or should have known that their representations were
28   false when they made them because OTA did not monitor its students’ trading

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 1   performance, OTA’s limited surveys indicated that most of its students did not trade
 2   or lost money when they traded, and TradeStation confirmed such indications; OTA
 3   instructors and education counselors were merely salespeople whose objective was
 4   to enroll students in tracks and courses that cost thousands of dollars depending on
 5   their financial circumstances; OTA instructors were not successful traders and many
 6   of them had loss money or only broke even during a long-running bull market; and
 7   OTA instructors hand-picked easy and profitable trades to simulate before
 8   performing them.
 9         150. Plaintiffs and the Class reasonably relied on OTA’s representations of
10   earnings when they purchased OTA training given the specific nature of OTA’s
11   examples and seemingly honest testimonials; OTA’s frequent references to its
12   patent, that the rewards outweighing the risks, and that the Daily Grid identifying
13   all buy and sell opportunities for consumers; OTA’s instructors and education
14   counselors’ representations due to their purported titles; and on OTA’s simulated
15   trades because they witnessed what they thought were live, successful trades.
16         151. Plaintiffs and Class Members were harmed as a result and by the failure
17   of OTA training to adequately prepare Plaintiffs and Class Members to trade
18   profitably.
19         152. As a direct and proximate cause of Defendants’ representations,
20   promises, and warranties, Plaintiffs and the Class suffered significant damages and
21   seek the relief described below.
22                            FIFTH CAUSE OF ACTION
                       (Unjust Enrichment Against All Defendants)
23

24         153. Plaintiffs re-allege and incorporate by reference the allegations
25   contained in the entirety of this Complaint as if fully set forth herein.
26         154. A party cannot induce, accept or encourage another to furnish or render
27   something of value to such party and avoid payment for the value received.
28         155. As a result of the conduct describe above, Defendants have been, and

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 1   will continue to be, unjustly enriched at the expense of Plaintiffs and the Class.
 2         156. Defendants have received, and are holding, funds belonging to
 3   Plaintiffs and the Class which in equity Defendants should not be permitted to keep
 4   but should be required to refund to Plaintiffs and Class Members.
 5                           SIXTH CAUSE OF ACTION
      (Violations of the Consumer Legal Remedies Act, Cal. Civ. Code §§ 1750, et
 6                           seq., Against All Defendants)
 7         157. Plaintiffs re-allege and incorporate by reference the allegations
 8   contained in the entirety of this Complaint as if fully set forth herein.
 9         158. This cause of action arises under the Consumers Legal Remedies Act
10   (“CLRA”), California Civil Code §§ 1750, et seq. Plaintiffs and the Class are
11   consumers as defined by California § 1761(d). Defendants’ seminars constitute
12   “services” and/or “products” as defined by § 1761(a) and (b). At all times relevant
13   hereto, Defendants constituted “persons” as that term is defined in § 1761(c), and
14   Plaintiffs’ and Class Members’ purchases of OTA seminars constitute
15   “transactions,” as that term is defined in § 1761(e).
16         159. Defendants violated and continues to violate the CLRA by engaging in
17   the following deceptive practices specifically proscribed by § 1770(a), in
18   transactions with Plaintiffs and Class Members that were intended to result or which
19   resulted in the sale or lease of goods or services to consumers:
20         160. In violation of § 1770(a)(5), Defendants’ acts and practices constitute
21   misrepresentations that the seminars in question have characteristics, benefits, or
22   uses which they do not have;
23         161. In violation of § 1770(a)(7), Defendants misrepresented that the
24   seminars are of a particular standard, quality and/or grade, when they are of another;
25   and
26         162. In violation of § 1770(a)(9), Defendants advertised the seminars with
27   the intent not to sell them as advertised or represented.
28         163. Defendants’ uniform representations as set forth more fully elsewhere

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 1   in this Complaint were false, deceptive, and/or misleading and in violation of the
 2   CLRA.
 3         164. Pursuant to § 1782, Plaintiffs notified OTA in writing by certified mail
 4   of the particular violations of § 1770 alleged herein and have demanded that OTA
 5   rectify the problems associated with the actions detailed above and give notice to
 6   all affected consumers of its intent to so act (see Ex. C). Plaintiffs sent this notice
 7   by certified mail, return receipt requested, to OTA’s principal place of business.
 8         165. If Defendants fail to rectify or agree to rectify the problems associated
 9   with the actions detailed above and give notice to all affected consumers within 30
10   days after receipt of the § 1782 notice, Plaintiffs will amend this Complaint to seek
11   actual, punitive, statutory, and all other relief available to Plaintiffs and the Class
12   under Civil Code § 1780.
13         166. In addition, pursuant to § 1780(a)(2), Plaintiffs are entitled to, and
14   therefore seek, a Court order enjoining the above-described wrongful acts and
15   practices that violate § 1770.
16         167. Plaintiffs and the Class are also entitled to recover attorneys’ fees, costs,
17   expenses, and disbursements pursuant to §§ 1780 and 1781.
18
                         SEVENTH CAUSE OF ACTION
19    (Untrue and Misleading Advertising in Violation of Cal. Bus. & Prof. Code
                       §17500 et seq. Against All Defendants)
20

21         168. Plaintiffs re-allege and incorporate by reference the allegations
22   contained in the entirety of this Complaint as if fully set forth herein.
23         169. § 17500 prohibits various deceptive practices in connection with the
24   dissemination in any manner of representations which are likely to deceive
25   members of the public to purchase products and services, such as the OTA seminars
26         170. Defendants disseminated, through common advertising, untrue
27   statements about OTA and its training, and Defendants knew or should have known
28   that the training did not conform to the advertisements or representations regarding

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 1   the training. Defendants intended Plaintiffs and the Class to see the advertisements
 2   and numerous material misrepresentations as set forth more fully elsewhere in the
 3   Complaint. Plaintiffs and the Class relied upon the advertisements and
 4   misrepresentations to their detriment.
 5         171. As a result of the foregoing, Plaintiffs and Class Members are entitled
 6   to injunctive and equitable relief and damages in an amount to be proven at trial.
 7                          EIGHTH CAUSE OF ACTION
          (Violations of Cal. Bus. and Prof. Code §§ 17200, et seq. Against All
 8                                    Defendants)
 9         172. Plaintiffs re-allege and incorporate by reference the allegations
10   contained in the entirety of this Complaint as if fully set forth herein.
11         173. California Business & Professions Code §§ 17200, et seq., prohibits
12   acts of unfair competition, which means and includes any “unlawful, unfair or
13   fraudulent business act or practice” and any act prohibited by § 17500.
14         174. Defendants violated § 17200’s prohibition against engaging in an
15   “unlawful” business act or practice by, inter alia, making extensive
16   misrepresentations about OTA training and its successes. Specifically, as set forth
17   more fully elsewhere in this Complaint, Defendants intentionally and falsely
18   represented to Plaintiffs and Class Members that they would earn substantial
19   income by purchasing OTA training; that its various strategies would enable them
20   to earn substantial income; that its instructors and education counselors were traders
21   who could truthfully and accurately provide information regarding trading and
22   counselors who could customize an education plan for them; that its instructors were
23   successful traders, and that the simulated trades were live trades, in violation of
24   California Civil Code §§ 1572 (actual fraud), 1573 (constructive fraud), 1709 and
25   1710 (deceit), 1750, et seq. (California Legal Remedies Act), California Business
26   & Professions Code §§ 17500, et seq. (false advertising), and the common law.
27         175. Plaintiffs reserve the right to allege other violations of law which
28   constitute other unlawful business acts and practices.

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 1             176. Defendants violated California Business and Professions Code §
 2   17200’s prohibition against engaging in a “fraudulent” business act or practice by,
 3   inter alia, disseminating, through common advertising, untrue statements about
 4   OTA and the training it sells that have a tendency to mislead the public and making
 5   numerous common material misrepresentations with the intent to induce reliance by
 6   consumers to purchase OTA seminars. Specifically, through its nationwide
 7   advertising campaign and sales events in dozens of cities, Defendants advertised to
 8   consumers that they can earn substantial income through OTA training with its
 9   infallible strategies, successful instructors, and simple steps and tools—regardless
10   of consumers’ background, amount of financial investment, and amount of time
11   investment.       Furthermore,    Defendants    violated   §    17200    by   issuing
12   misrepresentations and untrue statements at the OTA seminars.
13             177. The foregoing conduct also constitutes “unfair” business acts and
14   practices within the meaning of § 17200. Defendants’ practices offend public policy
15   and are unethical, oppressive, unscrupulous, and violate the laws stated.
16   Defendants’ conduct caused and continues to cause substantial injury to Plaintiffs
17   and Class Members. The gravity of Defendants’ alleged wrongful conduct
18   outweighs any purported benefits attributable to such conduct. There were also
19   reasonably available alternatives to Defendants to further their business interests.
20             178. Plaintiffs and Class Members have suffered injury in fact and have lost
21   money and/or property as a result of Defendants’ unlawful, fraudulent, and unfair
22   business practices and are therefore entitled to the relief available under §§ 17200,
23   et seq.
24   XI. PRAYER FOR RELIEF
25             WHEREFORE, Plaintiffs, individually and on behalf of members of the
26   Class, as applicable, respectfully request that the Court enter judgment in their
27   favor and against OTA, as follows:
28             1.   That the Court certify this action as a class action, proper and

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 1   maintainable pursuant to Federal Rule of Civil Procedure 23, declare Plaintiffs are
 2   the proper class representatives, and appoint Plaintiffs’ Counsel as Class Counsel;
 3          2.     That the Court grant permanent injunctive relief barring OTA from
 4   engaging in the unlawful acts, omissions, and practices described herein;
 5          3.     That the Court award Plaintiffs and the Class all statutory damages,
 6   including, but not limited to, compensatory, consequential, and general damages in
 7   an amount to be determined at trial;
 8          4.     That the Court award statutory damages, trebled, and punitive or
 9   exemplary damages, to the extent permitted by law;
10          5.     That the Court award Plaintiffs and the Class all costs and expenses of
11   the action, including reasonable attorneys’ fees;
12          6.     That the Court award pre- and post-judgment interest at the maximum
13   legal rate;
14          7.     That the Court grant all such equitable relief as it deems proper and
15   just, including, but not limited to, disgorgement and restitution; and
16          8.     That the Court grant all such other relief as it deems just and proper.
17   XII. DEMAND FOR JURY TRIAL
18          Plaintiffs demand a jury trial on all claims so triable.
19

20   Dated: April 20, 2020                /s/ Joseph W. Cotchett
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